Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 1 of 68 PageID #: 43




                           UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION



          Peter Harris and Loni Harris,


                       Plaintiffs,
                                                                1:24-cv-00313
                                                     Case No. __________________


                v.


          Upwintrade.com, a business                 Affidavit of Evan Cole
          association; David Shamlian, an
          individual; John Does 1 – 20,


                       Defendants.



               I, Evan Cole, state and swear as follows.

               I.     Introduction

               1.     My name is Evan Cole. I am of sound mind and capable of mak-

         ing this Affidavit. I have personal knowledge of the facts stated herein.

               2.     I am the founder of Digital Investigations, LLC. I am experi-

         enced in blockchain investigations and am knowledgeable about the pig-

         butchering scam epidemic and the tactics of cybercriminals like the Defend-

         ants in this case. I hold the Chainalysis Cryptocurrency Fundamentals and

         the Chainalysis Reactor Certifications.




                                              -1-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 2 of 68 PageID #: 44




               II.    Pig-Butchering Scams

               3.     I have reviewed the Plaintiffs’ Verified Complaint, their Motion

         for Ex Parte Temporary Restraining Order and Expedited Discovery (the

         “Motion”), and relevant evidence described below. I have concluded that the

         Plaintiffs were the victims of what is known as a “pig-butchering scam.” This

         is a type of cybercrime that has proliferated in recent years. I have reviewed

         Section III(A) of the Motion, which sets out background related to the pig-

         butchering epidemic. Based on my training and experience, I verify that the

         statements set out there are true and correct.

               4.     The method of initial contact, style of communications, deceptive

         tactics, and the nature of the ‘trading platform’ used by the Defendants show

         that this was a pig-butchering scam. I have attached the following publicly

         available materials for comparison to the facts of this case:

                      a. Exhibit 1-A is a ProPublica article titled What’s a Pig-

               Butchering Scam?, which describes in detail the tactics used by

               scammers, which map directly on to the facts of this case.

                      b. Exhibit 1-B is a Secret Service bulletin titled Cryptocurrency

               Investment Scams, which includes a list of “Warning Signs,” al-most all

               of which of which were present in this case.

                      c. Exhibit 1-C is an excerpt from the Federal Bureau of

               Investigation’s Internet Crime Complaint Center’s 2023 Internet

               Crime Report, which shows that investment scams are the largest

               source of reported losses of any internet crime.
                                              -2-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 3 of 68 PageID #: 45




                      d. Ex. 1-D is an excerpt from How Do Crypto Flows Finance

               Slav-ery? The Economic of Pig Butchering, a 2024 academic paper that

               studied the pig-butchering epidemic.

                      e. Exhibit 1-E is a Reuters article titled Crypto Scam: Inside the

               Billion-Dollar Pig-Butchering Industry, which describes the or-

               ganization, management, and tactics of the criminal syndicates that

               operate pig-butchering scams.

               5.     Comparison     of   these   news   reports,   articles,   and   law-

         enforcement bulletins to the allegations in the Harrises’ Complaint shows

         that this case bears all the classic signifiers of a pig-butchering scam. Based

         on my training and experience, I have concluded beyond any doubt that the

         Harrises were the victim of just such a scam perpetrated by the Defendants.

               III.   Blockchain Background

               6.     I have reviewed Section III(C) of the Motion, which explains

         blockchain technology, blockchain-tracing methodologies, and crypto-asset

         recovery methods. Each of the statements in Section III(C) is accurate, to the

         best of my knowledge and experience.

               IV.    Blockchain Tracing

               7.     I have reviewed Section III(D) of the Motion, which sets out

         information about the blockchain tracing of the assets stolen from the

         Plaintiffs. I verify that the statements set out there are true and correct.

               8.     Exhibit 1-F is a true and correct copy of a graph showing the

         tracing of the assets stolen from the Harrises to the Target Accounts

                                               -3-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 4 of 68 PageID #: 46




         identified in the Motion. This graph was generated using Chainalysis

         Reactor, a leading blockchain-analytics software.

               9.       At its leftmost edge, the graph reflects transactions in which the

         Harrises sent cryptocurrencies with collective transfer-date value of

         $665,971.94 to addresses controlled by the Defendants. The circles labeled

         “Upwintrade Receiving Address” are the addresses to which the operators of

         the Upwintrade platform instructed Plaintiffs to transfer their assets.

               10.      Continuing to the right, each circle represents a distinct block-

         chain address. The lines between the circles show the flow of funds from one

         address to another. At the graph’s right edge, there are four circles labeled

         “Remitano,” “Revolut,” “Bybit,” and “Binance” (the “Receiving Exchanges”).

         These are the exchange-associated-address clusters to which the Harrises’

         stolen assets were ultimately transferred.

               11.      To ensure that only assets traceable to the Harrises were

         captured in my analysis, I filtered the transactions directed to the Receiving

         Exchanges by date, capturing only those transactions that occurred after the

         Harrises’ assets arrived at the address that later transferred those assets to

         the relevant Receiving Exchange. I then exported a ledger of those

         transactions. A true and correct copy of this ledger is attached hereto as

         Exhibit 1-G.

               12.      Based on the evidence described above and on my training and

         experience, I have concluded that the accounts associated with the



                                                -4-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 5 of 68 PageID #: 47




         transactions detailed in the transaction ledger attached as Exhibit 1-G are

         likely controlled by the Defendants and either hold or have held the Harrises’

         stolen assets and other proceeds of criminal activities.

               13.    As explained in the Motion, it is very easy to move cryptocur-

         rencies on the blockchain. Crypto assets can be moved in seconds from ad-

         dress to address, or exchange to exchange. Based on my experience, if the

         Target Accounts are not frozen, it is likely the individuals who stole the as-

         sets held there will move them to a non-compliant exchange or a self-custody

         address, which would prevent the Harrises from recovering the assets stolen

         from them, thereby causing significant and irreparable harm.

               V.     Subpoena Targets

               14.    I have performed an “open-source intelligence” investigation in

         this matter in addition to the blockchain investigation described above. Open-

         source intelligence refers to publicly available information available about a

         subject, often technological in nature.

               15.    The Harrises set out their proposed subpoena targets in the

         Motion at Section IV(B)(1). I have attached evidence showing the connection

         of each of these subpoena targets to this case as follows.

          Subpoena Target      Connection to Case                      Evidence

          Microsoft            Microsoft owns Skype, the messaging     Exhibit 1-H
          Corporation          app that Shamlian primarily used to
                               communicate with the Harrises.

          Meta Platforms,      Meta owns Facebook, where the           Exhibit 1-I
          Inc.                 deception at issue in this case began

                                              -5-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 6 of 68 PageID #: 48




                              and where the Harrises
                              communicated with the defendants.

          SRS AB              SRS AB is the domain registrar for        Exhibit 1-J
                              Upwintrade.com.

          Mastercard Inc.     A “built-with” search of                  Exhibit 1-K
                              Upwintrade.com shows that, at some
                              point, a Mastercard payments
                              processing tool was installed on the
                              site.

          Visa Inc.           A “built-with” search of                  Exhibit 1-K
                              Upwintrade.com shows that, at some
                              point, a Mastercard payments
                              processing tool was installed on the
                              site.

          Data Room, Inc.     Data Room provided the U.S.-based         Exhibit 1-J
                              servers from which the Defendants
                              operated upwintrade.com.

          LLC Technology      This entity owns and operates             Exhibit 1-L
          Distribution Ltda   JivoChat, a live-chat plugin that the
                              Defendants used to communicate
                              with victims on Upwintrade.com.

          Wild West           This entity is the domain registrar       Exhibit 1-M
          Domains, LLC        for davidshamlian.com, the personal
                              website of David Shamlian.

          OrangeHost LLC      This entity provides web-hosting          Exhibit 1-M
                              services for davidshamlian.com.

          Elementor Ltd.      The Defendants used the Elementor         Exhibit 1-N
                              site-building tool to build the website
                              at davidshamlian.com.

          Binance, Ltd.       A significant portion of the Bitcoin      Exhibit 1-F
                              that the Defendants stole from the
                              Harrises was ultimately deposited in
                              accounts at the Binance
                              cryptocurrency exchange.




                                             -6-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 7 of 68 PageID #: 49




          Revolut              A significant portion of the Bitcoin    Exhibit 1-F
          Technologies, Inc.   that the Defendants stole from the
                               Harrises was ultimately deposited in
                               accounts at Revolut, which is a “neo-
                               bank” that offers both crypto- and
                               fiat-denominated accounts.

          Babylon Solutions This entity owns and operates the      Exhibit 1-F
          Limited           peer-to-peer cryptocurrency exchange
                            Remitano. A significant portion of the
                            Bitcoin that the Defendants stole
                            from the Harrises was ultimately
                            transferred to Remitano accounts.

          Bybit Fintech        A significant portion of the Bitcoin    Exhibit 1-F
          Limited              that the Defendants stole from the
                               Harrises was ultimately deposited in
                               accounts at the Bybit cryptocurrency
                               exchange.

               16.    For the reasons set out in the table above, each of the Harrises’

         proposed subpoena targets are likely to be in possesssion of biographical,

         contact, payments, and/or account-activity information about the Defendants.

         Businesses like those operated by the proposed subpoena targets typically

         maintain such information in databases that allow for straightforward data

         isolation and export, such that the burden of providing the information

         requested by the Harrises will be minimal.

                               [SIGNATURE PAGE FOLLOWS]




                                              -7-
              Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 8 of 68 PageID #: 50




                                                       VERIFICATION

                                 I, Evan Cole, hereby verify and declare under penalty of perjury

                           that the foregoing is true and correct.




                                              Commonwealth of Virginia
                                              County of Chesterfield



                                                                      __________________________
                                                                      Evan Cole
                                                                      Founder & Investigator
                                                                      Digital Investigations, LLC
The foregoing instrument was acknowledged before me
                                                                      evan@digitalinvestigations.co

   on 07/30/2024 by Evan Cole.                                        Dated: 07/30/2024

Notarized remotely online using communication technology via Proof.




                                                              -8-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 9 of 68 PageID #: 51




     Exhibit 1-A



    What’s a Pig Butchering Scam? Here’s How to Avoid Falling
    Victim to One.
    Thousands have lost huge sums after being lured into fraudulent online investment schemes by
    seemingly attractive strangers who strike up online conversations with them. Here’s a guide to spotting
    the telltale signs.




                                     Tara Anand, special to ProPublica



    by Cezary Podkul
    Sept. 19, 2022, 3:50 p.m. EDT


    ProPublica is a nonpro t newsroom that investigates abuses of power. Sign up to receive our biggest stories as soon as they’re
    published.

    If you’re like most people, you’ve received a text or chat message in recent months from a stranger with an
    attractive pro le photograph. It might open with a simple “Hi” or what seems like good-natured confusion
    about why your phone number seems to be in the person’s address book. But these messages are often far
    from accidental: They’re the rst step in a process intended to steer you from a friendly chat to an online
    investment to, ultimately, watching your money disappear into the account of a fraudster.

    “Pig butchering,” as the technique is known — the phrase alludes to the practice of fattening a hog before
    slaughter — originated in China, then went global during the pandemic. Today criminal syndicates target
    people around the world, often by forcing human tra cking victims in Southeast Asia to perpetrate the
    schemes against their will. ProPublica recently published an in-depth investigation of pig butchering,
    based on months of interviews with dozens of scam victims, former scam sweatshop workers, advocates,
    rescue workers, law enforcement and investigators, along with extensive documentary evidence including
    training manuals for scammers, chat transcripts between scammers and their targets and complaints led
    with the Federal Trade Commission.

    “We’ve had people from all walks of life that have been victimized in these cases and the paydays have been
    huge,” said Andrew Frey, a nancial investigator for the Secret Service, the federal agency that is taking a
    lead role in combating online crime and trying to help victims recover their stolen funds.

    These swindles are not only highly organized but also systematized. Here’s how the fraudsters typically go
    about it, including photographs, excerpts from text exchanges between scammers and targets, advice from
    training guides for fraudsters and police reports from pig butchering cases:
                                                                         001
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 10 of 68 PageID #: 52




     1. Create a fake identity
     Pig butchers most often begin by creating a phony online persona, typically accompanied by an alluring
     photo (which itself might have been stolen) and images that convey a glamorous lifestyle.




                               This Instagram pro ile was reported to the Federal Trade Commission by a
                               Florida resident who complained of losing $89,000 to a pig butchering
                               scam. (Meta, which owns Instagram, said it’s investigating the account,
                               whose owner didn’t respond to a request for comment.) Screenshot
                               blurred by ProPublica



     2. Initiate contact
     Once they’ve got an online pro le, fraudsters begin sending messages to people on dating or social
     networking sites. Alternatively, they may use WhatsApp or another messaging service and pretend to have
     stumbled on a “wrong number” as they contact you. (A spokesperson for Meta, which owns WhatsApp,
     previously told ProPublica that the company is investing “signi cant resources” into keeping pig-
     butchering scammers o its platforms.)

     In December       , a Connecticut man received these messages on WhatsApp from a seemingly friendly
     stranger. He responded and eventually ended up getting tricked into two scams that cost him a total of
         ,    .




                                                                  002
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 11 of 68 PageID #: 53




                                [12/28/20, 12:06 AM] SCAMMER J: Long time no see, how are
                                you recently

                                [12/28/20, 10:10 AM] SCAMMER J:    Are you not Kevin? Sorry, I
                                guess I added the wrong person, sorry

                                [12/28/20, 10:16 AM] TARGET C: Not Kevin.

                                [12/28/20, 10:16 AM] SCAMMER J: Sorry, I made the wrong call.
                                Since I have many business partners, my assistant saved the
                                wrong number, please forgive me

                                [12/28/20, 10:17 AM] TARGET C: No prob. What country are you
                                calling from?

                                [12/28/20, 10:17 AM] SCAMMER J: I come from Hong Kong.
                                Hong Kong is a metropolis with technology, inance and food.
                                Have you ever been here

                                [12/28/20, 10:18 AM] SCAMMER J: Acquaintance is fate, where
                                are you from

                                [12/28/20, 10:18 AM] TARGET C: I’m from NYC originally

                                [12/28/20, 10:19 AM] SCAMMER J: Your place is a very beautiful
                                place, I went there years ago



     3. Win the trust of the target
     The next step is starting a conversation with a potential victim to gain their trust. The scammers often
     initiate benign chats about life, family and work with an eye toward mining their targets for information
     about their lives that they can later use to manipulate them. They’ll fabricate details about their own life
     that make them seem similar to you. After all, people like people who are like them.
     When a Houston woman revealed that her brother was born with cerebral palsy, a crook countered with a
     similar-sounding tale:

                                [2/25/21, 6:32:38 PM] TARGET P: I have one brother that is
                                handicapped and lives with my parents. Of course he’s coming
                                with them for the weekend

                                [2/25/21, 6:35:36 PM] SCAMMER C: I see. My parents are taking
                                care of my brother. I hope he will live well

                                ...

                                [2/25/21, 6:38:49 PM] TARGET P: My brother was born with
                                cerebral palsy

                                [2/25/21, 6:39:19 PM] SCAMMER C: Sorry things, but also hard
                                for your parents

                                [2/25/21, 6:39:29 PM] TARGET P: He’s healthy over all but you
                                have to do everything for him. He can’t talk, dress, or feed
                                himself



     4. Sign them up
     Before long, the swindlers will pivot to a discussion of investing. They’ll make claims about their own
     purported investing successes, perhaps sharing screenshots of a brokerage account with gaudy numbers in
     it. They’ll try to convince targets to open an account 003
                                                            at their online brokerage. Unbeknownst to the target,
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 12 of 68 PageID #: 54




     the brokerage is a sham, and any money deposited will go straight to the scammer. Most victims don’t
      gure out that last part until it’s too late.

     Guides for scammers recommend touting the reliability of MetaTrader, a trading app that fraudsters use for
     nefarious purposes, by pointing out that the app is available in Apple’s App Store, so it must be safe.
     (MetaTrader did not respond to requests for comment. An Apple spokesperson said the company has
     shared complaints with MetaTrader’s parent company, and asserted that the parent has taken steps to
     respond to the complaints.)


     5. Get them to put real money into the fake account
     Once marks agree to learn investing tricks, the scammers will “help” them with the investment process.
     The fraudsters will explain how to wire money from their bank account to a crypto wallet and eventually to
     the fake brokerage. Typically the fraudster will ease the process by recommending a modest initial
     investment — which will inevitably show a gain.

     A woman in Michigan became intrigued by her online boyfriend’s references to making money trading
     gold and o ered to become his student. Two days later, he was teaching her how to get started investing in
     a fake brokerage accessible through MetaTrader:

                                [3/16/21, 4:40:00 PM] TARGET T: What are you up to right now?

                                [3/16/21, 5:11:42 PM] SCAMMER L: I’m reading a book

                                [3/16/21, 5:14:39 PM] TARGET T: What book are you reading?

                                [3/16/21, 5:17:02 PM] SCAMMER L: A book about investing in
                                gold

                                [3/16/21, 5:19:04 PM] TARGET T: Nice. You should teach me.
                                Make me your student.

                                [3/16/21, 5:20:37 PM] SCAMMER L:     I don't want you to be my
                                student. I want you to be my wife.



     6. “Prove” that it’s legitimate
     Scammers often allay initial doubts by letting targets withdraw money once or twice to convince them the
     process is trustworthy. For example, fraudsters allowed a Canadian man named Sajid Ikram to withdraw
       ,    Canadian dollars, according to a statement he led with the Royal Canadian Mounted Police. That
     returned money helped convince him that his investment was real. He reported ultimately losing nearly
          ,   , including money borrowed from several friends.


     7. Manipulate them into investing more
     That’s only the beginning. Pig butchering guides o er insights on how to exploit marks’ emotional and
      nancial vulnerabilities to manipulate them into depositing more and more funds. It starts with
     assurances that the investments are risk-free, then escalates into pressure to take out loans, liquidate
     retirement savings, even mortgage a house.

     Over a period of nine days, one scammer (who called herself Jessica) escalated her pressure, pushing the
     target, a California man, rst to use his cash on hand, then to tap his retirement savings, then to borrow
     money.



                                                             004
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 13 of 68 PageID #: 55




                               [11/3/21, 8:03:13 PM] TARGET Y: I just don’t want to risk

                               [11/3/21, 8:03:42 PM] SCAMMER J: When you need money, you
                               can ask for it at any time

                               [11/3/21, 8:04:08 PM] SCAMMER J: This is not a risk, it is called
                               maximizing pro it

                               …

                               [11/8/21, 5:31:53 PM] TARGET Y: what can I do

                               [11/8/21, 5:32:27 PM] SCAMMER J: Your 401K can’t move?

                               [11/8/21, 5:32:50 PM] TARGET Y: You know how that works.
                               Heavy penalties plus double taxation

                               [11/8/21, 5:32:53 PM] SCAMMER J: Then you can earn it back
                               with a ine.

                               …

                               [11/11/21, 6:20:05 PM] SCAMMER J: Borrowing money from the
                               bank is not a big deal, I often do

                               [11/11/21, 6:22:11 PM] TARGET Y: I am not ignoring you. I am
                               trying to think

                               [11/11/21, 6:22:45 PM] SCAMMER J: You are a wise man, this is
                               borrowing a chicken to lay eggs

                               [11/11/21, 6:23:23 PM] SCAMMER J: Really rich people use bank
                               money to invest



     8. Cut them o
     Once targets reach a limit and become unwilling to deposit more funds, their seeming investment success
     comes to a sudden stop. Withdrawals become impossible, or they su er a big “loss” that wipes out their
     entire investment.

     The California man was aghast when he discovered      ,    he’d deposited was gone. Ultimately, the
     swindler persuaded him to invest another    ,    , which also disappeared into the swindler’s account.

                               [11/18/21, 11:59:16 AM] TARGET Y: I lost all my money

                               [11/18/21, 11:59:18 AM] SCAMMER J: If the principal is not
                               enough, it cannot be supported to the pro it point.

                               [11/18/21, 11:59:34 AM] SCAMMER J: Don’t worry,

                               [11/18/21, 11:59:46 AM] TARGET Y: I am negative $480k

                               [11/18/21, 12:00:01 PM] SCAMMER J: Prepare the funds and
                               earn them back.

                               [11/18/21, 12:00:12 PM] TARGET Y: I don’t have any money or
                               funds to prepare

                               [11/18/21, 12:00:20 PM] TARGET Y: That’s all I have!!!!!!!!!!!!



     9. Use their desperation to your advantage
                                                                005
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 14 of 68 PageID #: 56




     Scammers will then turn the screws of manipulation tighter by telling victims there’s a potential solution:
     If they deposit more cash into the brokerage, they can regain what they lost. Sometimes, the claim is that
     the investment is successful — but there’s a “tax problem” that requires paying additional funds equal to,
     say,     of their total account value. If the victim pays, the scammer will claim that new obstacles have
     arisen that require paying new fees.

     No matter how much targets pay, it’s never enough, as detailed in the FTC complaint excerpted below,
     which was led by a pig butchering victim in Maryland. This person lost almost . million, in part
     because the person kept meeting scammers’ demands to pay taxes and various fees to get their money
     back:

     “Once the trading has ended, I applied to withdrawal my money and pro t from the website. The broker
     asked me to pay a tax on the pro t of , . usd on           , this amount was wired again through Bank
     of America into a foreign account in Hong Kong. Another request for me to pay security deposit on my
     pro ts which was ,      . usd wired out to a di erent foreign account in Hong Kong once again. The
     broker asked for a bank and withdrawal processing fee of ,    . usd again was wired out to a di erent
     foreign account in Hong Kong. The very last wire was for expediting the withdrawal and the platform asked
     for ,     . usd wired out to Hong Kong. At this point I already had to much money in the platform so I
     kept giving in.”


     10. Taunt and depart
     Once the targets are aware that they’ve been swindled, the fraudsters often insult or taunt them. They soon
     go silent, and the websites of their phony brokerages stop working. Then they relaunch a new website
     under a di erent URL and restart the process with other targets.

     After nearly four months of chatting and  ,    in losses for the Michigan victim, her scammer seemed to
     revel in unveiling the nancial — and emotional — deception:

                                [7/1/21, 3:25:31 PM] SCAMMER L: I’m a liar, too.

                                [7/1/21, 3:25:42 PM] TARGET T: What do you mean you are a
                                liar?

                                [7/1/21, 3:25:58 PM] SCAMMER L: But I am very kind, I only
                                cheated you out of 30K, thank you for 30K

                                [7/1/21, 3:26:16 PM] TARGET T: Wow.

                                [7/1/21, 3:26:55 PM] TARGET T: You deleted this message.

                                [7/1/21, 3:27:23 PM] TARGET T: You don’t really love me? We are
                                not getting married?

                                [7/1/21, 3:27:44 PM] SCAMMER L: Surprise or surprise. I’m not
                                surprised.




     What to Do If You’ve Been Scammed
     If you’ve been victimized, report the crime to your bank and law enforcement — the FBI, the Secret Service
     and local police — as quickly as possible. The longer you wait, the harder it is for your bank to reverse any
     fraudulent transactions and for law enforcement to trace, freeze or seize stolen funds. “We are de nitely
     going to be more successful if you immediately report,” said Erin West, deputy district attorney at the Santa
     Clara County District Attorney’s o ce, which has had some success seizing assets linked to pig butchering
     scams.
                                                              006
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 15 of 68 PageID #: 57




     Cezary Podkul
     Cezary Podkul is a reporter for ProPublica who writes about inance.

       cezary.podkul@propublica.org   @Cezary




                                                                 007
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 16 of 68 PageID #: 58




                                Exhibit 1-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 17 of 68 PageID #: 59




       20 23 I NTE R NE T C RI ME RE P O RT            Exhibit 1-   1
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 18 of 68 PageID #: 60




       12                                                                             FE DE R A L B U RE A U O F I N VE S TI G A TIO N



       I N V E S TM E N T

                                   In 2023, the losses reported due to Investment scams became the most of any crime
                                   type tracked by the IC3. Investment fraud losses rose from $3.31 billion in 2022 to
                                   $4.57 billion in 2023, a 38% increase. Within these numbers, investment fraud with
                                   a reference to cryptocurrency rose from $2.57 billion in 2022 to $3.96 billion in 2023,
                                   an increase of 53%. These scams are designed to entice those targeted with the
                                   promise of lucrative returns on their investments. 7,8

                  *2023 Investment Complaints                                    Investment Fraud Losses Reported to IC3
                  Reported to IC3 by Age Range                                              Crypto-Investment     Investment
                                                                      $5,000,000,000

       Under 20         387
                                                                      $4,500,000,000

                                                                      $4,000,000,000
           20 - 29              3,363
                                                                      $3,500,000,000


           30 - 39                                     6,654          $3,000,000,000

                                                                      $2,500,000,000

           40 - 49                                     6,680
                                                                      $2,000,000,000

                                                                      $1,500,000,000
           50 - 59                             5,608
                                                                      $1,000,000,000


           Over 60
                                                                           $500,000,000
                                                    6,404

                                                                                    $0
                                                                                           2019       2020      2021       2022          2023
       *Does not include complainants that did not provide an age range.


       IC3 publications in 2023 Related to Investment Fraud

              •      The FBI Warns of a Spike in Cryptocurrency Investment Schemes
              •      FBI Guidance for Cryptocurrency Scam Victims
              •      Increase in Companies Falsely Claiming an Ability to Recover Funds Lost in Cryptocurrency
                     Investment Scams
              •      Criminals Pose as Non-Fungible Token (NFT) Developers to Target Internet Users with an Interest
                     in NFT Acquisition


       7
           Accessibility description: 2023 Investment Complaints Reported to IC3 by Age Range.
       8
           Accessibility description: Chart shows Investment Fraud Losses Reported to the IC3 by Year for 2019 to 2023.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 19 of 68 PageID #: 61




             Exhibit 1-D




              How Do Crypto Flows Finance Slavery?
                The Economics of Pig Butchering
                                     John M. Griffin†                  Kevin Mei‡
                                                 February 29, 2024

                                                        Abstract


             Through blockchain addresses used by “pig butchering” victims, we trace crypto flows
             and uncover methods commonly used by scammers to obfuscate their activities, in-
             cluding multiple transactions, swapping between cryptocurrencies through DeFi smart
             contracts, and bridging across blockchains. The perpetrators interact freely with major
             crypto exchanges, sending over 104,000 small potential inducement payments to build
             trust with victims. Funds exit the crypto network in large quantities, mostly in Tether,
             through less transparent but large exchanges—Binance, Huobi, and OKX. These crim-
             inal enterprises pay approximately 87 basis points in transaction fees and appear to
             have recently moved at least $75.3 billion into suspicious exchange deposit accounts,
             including $15.2 billion from exchanges commonly used by U.S. investors. Our findings
             highlight how the “reputable” crypto industry provides the common gateways and exit
             points for massive amounts of criminal capital flows. We hope these findings will help
             shed light on and ultimately stop these heinous crimes.




             This paper is dedicated to all pig butchering victims, those defrauded and those enslaved, and especially
       the victim who gave us the impetus to write this paper. We are thankful for helpful comments from David
       Dicks, Gleb Domnenko, Cesare Fracassi, Sophia Hu, Brandon Kirst, Samuel Kruger, Alex Pettyjohn, Alex
       Priest, Marius Ring, Amin Shams, Michael Sockin, Qinxi Wu, and seminar participants at Baylor University,
       Integra FEC, the University of Rochester, the University of Texas-Austin and the University of Texas-Dallas.
       We thank Juan Antonio Artero Calvo, other research assistants, and especially Joseph Newcomer for excellent
       programming assistance. We thank Jan Santiago, Raymond Hantho, Chainbrium, and the United States
       Institute of Peace (USIP) for providing addresses collected as part of a USIP whitepaper. We further thank
       Integra FEC for use of their bulk tracing tools and for substantial crypto-research support. Griffin is an
       owner of Integra FEC and Integra Research Group, which engage in financial consulting, research, and
       recovery on a variety of issues related to the investigation of financial fraud.
           †
             McCombs School of Business, University of Texas at Austin.
           ‡
             McCombs School of Business, University of Texas at Austin.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 20 of 68 PageID #: 62




       Crypto friendship or romance scams have proliferated. Random social media or text messages
       attempting to develop an online relationship are now commonplace. In a subset of cases,
       the friendly relationships slowly morph into full-blown scams known as “pig butchering”
       or sha zhu pan, which, in the extreme, bleed lonely, sick, and distressed victims, often
       with little exposure to investments and crypto, into the loss of their life savings. Though
       varied in nature, the origin of these scams is often even darker, as the manpower powering
       the communications is often enslaved in compounds thought to hold 220,000 victims in
       Southeast Asia.1 This paper examines how these criminal organizations are financed through
       cryptocurrencies. How do criminal networks use crypto to move victim funds? Where
       does capital enter the network? Where do the funds exit? What obfuscation methods are
       employed? How pervasive is this activity? How can it be stopped?

          Money flows are the lifeblood of organized crime by financing both current and future
       illegal activity. If illicit financial flows continue to grow and are uninterrupted, then the
       criminal network will typically expand. With this in mind, the international financial sys-
       tem has developed a framework, including Know Your Customer (KYC) and Anti-Money
       Laundering (AML) provisions, to combat the financing of transnational organized crime.
       However, with the emergence of Bitcoin and other cryptocurrencies specifically designed to
       create an anonymous alternative financial system, criminal networks now have new avenues
       to avoid detection and seizure of funds. Nevertheless, crypto is rarely used as a medium
       of exchange to purchase goods and services, and thus typically needs to be converted from
       and back to fiat currencies, such as U.S. dollars. The entry and exit points into the crypto
       ecosystem are typically crypto exchanges, which also purport to conform to international
       laws designed to mitigate illicit financial flows.

          Although cryptocurrencies are designed to be anonymous, the nature in which the trans-
       actions clear on the blockchain provides a ledger that tracks the movement of funds. Thus,

          1
            Section 1 provides a brief overview of the nature of the schemes and summary evidence compiled from
       government reports, investigative reporting, and documentaries.


                                                          1
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 21 of 68 PageID #: 63




       the transactions are quasi-anonymous in that, by applying algorithms and substantial effort,
       it is often possible to determine where funds enter, move through, are swapped into different
       cryptocurrencies, and exit the crypto ecosystem.

          We utilize data from pig butchering victim reports to determine the cryptocurrency ad-
       dresses where victims were directed to send their funds by scammers. We start with 3,256
       Ethereum addresses, 770 Bitcoin addresses, and 702 Tron addresses. Most addresses are used
       ten or more times, and 28% of addresses are used more than one hundred times. Of these ini-
       tial sets, Ethereum addresses receive $5.8 billion in funds, compared to $389 million for Tron
       and $373 million for Bitcoin. Given that the Ethereum addresses represent approximately
       88% of the total funds, we begin by examining Ether (ETH, the native cryptocurrency on
       Ethereum) and token (commonly known as ERC-20 tokens) transactions on the Ethereum
       blockchain.

          Our primary approach is to track the flows entering and exiting scammer addresses and
       apply detailed bulk tracing algorithms to follow the paths of ETH and ERC-20 tokens that
       trade on the Ethereum blockchain. Based on blockchain information from an unfortunate
       U.S. victim who lost their retirement and life savings of approximately $465,000, we first
       show how their funds left their exchange’s wallet in the form of ETH, USDC, and Bitcoin,
       were forwarded to another address, and subsequently swapped to other tokens using a rela-
       tively obscure decentralized exchange called Tokenlon. The pattern of this victim’s funds is
       strikingly similar to that of many other adjacent nodes connected to the scamming network
       and many other reported victim cases.

          We trace victim funds in bulk and follow their paths to centralized exchange deposit
       addresses from January 2020 to February 2024.2 Figure 1 plots the resulting network for a
       three percent sample of nodes from the traced network and highlights many features. First,
       the figure shows how crypto often originates from large exchanges where investors commonly


          2
              The data and analyses in this paper were last updated on February 20, 2024.


                                                            2
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 22 of 68 PageID #: 64




       have accounts (Coinbase, Crypto.com, and Binance) and flows into the network. Second,
       funds are often swapped for Tether (known as USDT) through Tokenlon. Third, after cir-
       culating through various hops in the network, crypto exits the system through centralized
       exchange deposit addresses. Fourth, transactions in amounts above $100,000 and in par-
       ticular $1 million commonly transfer funds to deposit addresses on Binance, Huobi, and
       OKX.

          Across all exchanges, the scammer network initiated 104,460 deposits to centralized ex-
       changes for amounts below $10,000, most commonly in small amounts clustering at round
       numbers, such as $100, $200 or $500. The transaction patterns mirror the characteristics
       of inducement payments in pig butchering scams, which are small payments from scammers
       to victims used to build trust. Of these, 31,980 transactions are sent to Western exchange
       deposit addresses, including Coinbase (15,249) and Crypto.com (15,433), while the remain-
       der is concentrated in Binance, Huobi, and OKX.3 We find 83% of potential inducement
       payments are sent from addresses used in more than ten transactions, suggesting limited
       monitoring by crypto exchanges.

          Since scammers are unlikely to return large sums of stolen funds, we consider deposit
       addresses that receive more than $100,000 as more likely to be scammer deposit addresses.
       These addresses are rarely associated with Western exchanges, but are common within Bi-
       nance, Huobi, and OKX, as well as exchanges such as Kucoin, Bitkub, and MXC. The
       common feature of these exchanges is that they have loose KYC procedures and are per-
       ceived to be outside of U.S. jurisdiction.4 To more fully understand the scope of the network,
       we apply “deposit address clustering” (Victor, 2020) by tracking addresses that send funds
       into these deposit addresses and finding other recipient deposit addresses associated with
       the same user.5 To avoid capturing payments made by criminals for things like inducement
           3
             Throughout this paper, we include Coinbase, Crypto.com, Kraken, Gemini, and FTX as Western ex-
       changes because these can be accessed by US-based users.
           4
             Most notably, the DOJ announced on November 21, 2023 that Binance plead guilty to disregarding
       anti-money laundering laws, had the CEO step down, and agreed to pay a more than $4 billion penalty.
           5
             This heuristic relies on the facts that an exchange customer may have multiple deposit addresses and


                                                           3
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 23 of 68 PageID #: 65




       payments, we exclude all connections below $100,000 and only consider direct connections.
       Using this method to link additional deposit accounts likely controlled by scammers, we find
       $75.3 billion of Ethereum-based inflow through February 2024 to these addresses. Portions
       of this total could capture funds associated with other related networks that interact with
       the criminal networks; however, additional robustness analyses indicate that this is likely a
       conservative lower-bound estimate and the total size may be considerably larger.

           After analyzing the network unveiled from tracing scammed funds forward, we also trace
       backwards from deposit addresses to find the largest sources of fund flows. We then collect
       the set of all nodes in the forward trace and backward trace and find $15.2 billion of funds
       that originate from five Western exchanges over the last four years, from over 1.25 million
       transactions from potential victims, averaging over $12,000 per transaction. Because our
       tracing is overly conservative to avoid potential false trace paths, this likely understates the
       scope of funds originating from Western crypto exchanges.

           Within the trace path, we observe many distinct features of the network graph that shed
       light on how romance scams and money launderers operate. Scammers extensively recirculate
       and swap funds across different addresses and cryptocurrencies. These transactions incur
       costs, but may help obfuscate the true source of their funds. We estimate that transaction
       costs for a network of this scale total to 87 basis points as a portion of outflows to exchange
       deposit addresses. In contrast, Soudijn and Reuter (2016) find costs of 7-16% to move
       physical Euro bills from Europe to Columbia and money laundering commission estimates
       range from 4-12% (US Treasury Department, 2002) and 10-20% (US Treasury Department,
       2007). Cryptocurrencies thus appear to be a much more cost-effective channel for moving
       illicit funds across borders. In total, scammer swap transactions may constitute more than
       58% of Tokenlon transactions since 2022. We observe large inflows from potentially Chinese

       any funds sent to these may only be accessed through the exchange; therefore, if a given blockchain address
       transfers tokens to two exchange deposit addresses, then it is likely that the two addresses are controlled by
       the same user. Deposit addresses are each assigned to a single verified account or user and thus provide an
       opportunity to examine the broader scope of the flows a user receives.


                                                             4
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 24 of 68 PageID #: 66




       victims in 2020; however, after the Chinese financial authorities banned cryptocurrency
       trading in late 2021, there appears to be a dramatic decrease in Chinese victims and a shift
       to US-based victims. Overall, in the set of addresses touched by the criminals, we find $1.172
       trillion dollars of volume, 84% of which is in Tether.

           As a placebo test, we compare a trace analysis of pig butchering addresses to phishing
       scam addresses. Pig butchering networks have larger transactions and receive more funds
       than phishing scams. Transactions in phishing scams use proportionally more ETH and
       lead towards Uniswap, Kucoin, and Binance. This also highlights how our methods can
       be applied to other criminal crypto spaces. We also trace 770 Bitcoin addresses and find
       that the Bitcoin scam network funnels scammed funds into Tokenlon, Binance, Huobi and
       OKX. We follow these paths from the Bitcoin to the Ethereum blockchain and find 78% of
       Bitcoin cross-chain paths intersect with our Ethereum trace paths, further indicating the
       importance of the Ethereum network in criminal activity. We find the network of scammer
       nodes is highly connected, likely indicating that there exist widely-used services that funnel
       funds for extremely large and possibly related criminal networks.

           It is our hope that this research, along with those of other researchers and practitioners
       will expose how crypto finances these dark activities.6 This project highlights how large-scale
       tracing of tainted funds can help expose and understand criminal financial activity that can
       hopefully be used as a roadmap in other criminal contexts.

           There are several other practical implications of our study. First, organized or “legit-
       imate” crypto exchanges serve as the on- and off-ramps for billions of dollars in criminal
       proceeds. Users with a crypto exchange account should realize that crypto exchange users

           6
             “One of the most effective ways to deter criminals and to stem the harms that flow from their actions–
       including harm to American citizens and our financial systems–is to follow the criminals’ money, expose their
       activity, and prevent their networks from benefiting from the enormous power of our economy and financial
       system.” From M. Kendall Day while acting Deputy Assistant Attorney General for the Criminal Division
       of the U.S. Department of Justice. He is now an attorney at Gibson Dunn and has previously served as
       counsel for Binance. He also states: “More broadly, money laundering undermines the rule of law and our
       democracy because it supports and rewards corruption and organized crime, allowing it to grow and fester”
       (U.S. Senate, 2018).


                                                            5
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 25 of 68 PageID #: 67




       are frequent targets of scams, and their funds are just a quick transfer away from being ir-
       reversibly lost—a risk that is far less prevalent for traditional investment accounts. Second,
       our findings indicate that the large players in the crypto space are likely not sufficiently
       protecting their customers from scams. Third, the Ethereum network appears to drastically
       reduce barriers for illicit financial flows of transnational organized crime. Fourth, romance
       scammers prefer the stablecoin Tether over other cryptocurrencies and the Ethereum network
       over Bitcoin. Fifth, decentralized exchanges also serve as large swapping points to exchange
       crypto and obfuscate funds. Crypto hedge funds and users (many based in the U.S. and
       Europe) who might purport to engage in “arbitrage” or “liquidity trading” (PWC, 2023)
       may simply be making profits by facilitating low-cost money laundering. Finally, the large
       centralized crypto exchanges located in jurisdictions with opaque regulatory environments
       (Binance, Huobi, OKX, and others) seem to be preferential potential exit points that can
       further finance extremely large amounts of criminal activities. Such activity has continued
       as of February 16, 2024, despite recent crackdowns.

       1      Related Literature and Background on Pig Butchering and Crypto
       1.1     Related Literature
             Our paper relates to three main literatures. First, there is a growing literature examining
       dark market activity in the crypto space. Meiklejohn et al. (2013) show how clustering
       algorithms can be used to identify Bitcoin transactions moving funds through the Silk Road,
       a darknet marketplace that operated between 2011 and 2013. Foley et al. (2019) find that
       46% of non-exchange-related Bitcoin activity from January 3, 2009 to April 2017 is associated
       with darknet websites. They estimate that 27 million Bitcoin users conduct $76 billion in
       annual activity, which by some estimates is 3/4th of the size of the U.S. drug trade. However,
       Makarov and Schoar (2021) use more conservative assumptions that account for potential
       double-counting and find that illegal activity, scams, and gambling account for less than 3%
       of Bitcoin volume over a more recent period from 2015 to 2021. In 2020, they estimated over
       $5 billion in dark market activities, online gambling, association with bitcoin mixers, and

                                                        6
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 26 of 68 PageID #: 68




       scams. Cong et al. (2023b) examine 21,650 addresses involved in sextortion, blackmail scams,
       and ransomware. Though ransomware is underreported, they show that 43 ransomware gangs
       carried out 2,690 attacks from May 2019 to July 2021.7 Amiran et al. (2022) studies the role
       of cryptocurrencies in terrorism financing. The academic literature mainly focuses on dark
       market activity in Bitcoin. In contrast, we detail the nature of activity on Ethereum, which
       includes techniques such as swaps between tokens and multiple transactions to seemingly
       evade detection. Since we only focus on funds in the network for one type of scheme and the
       funds we track are larger than those tied to the dark markets for Bitcoin in 2020 (Makarov
       and Schoar, 2021), the amount of criminal activity on Ethereum may be many times larger
       than previously estimated. We also make a methodological contribution by showing how
       bulk tracing multiple streams of funds moving through the network, including from Bitcoin
       to Ethereum, can help provide a more complete map of broader cryptocurrency networks.

           Second, there is a growing literature related to other types of nefarious trading activity
       in crypto, including price manipulation, pump-and-dump schemes, and wash trading.8 Cong
       et al. (2023a) examine common crypto scams including those of investment, ICO, rug pulls,
       phishing, blackmail, and Ponzi schemes. Gandal et al. (2018) show price manipulation of
       Bitcoin in 2014. Griffin and Shams (2020) show that Bitcoin prices were manipulated upward
       through the partially unbacked printing of Tether, which helped to fuel Bitcoin and other
       cryptos in 2017 and 2018. Li et al. (2018) and Hamrick et al. (2021) provide detailed evidence
       of pump-and-dumps of crypto tokens. Phua et al. (2022) estimate that 38.7% or $12 billion
       of capital from 5,935 ICOs were likely scams. Pennec et al. (2021) and Cong et al. (2023b)
       study crypto wash trading. Cong et al. (2023b) shows that wash trading accounts for trillions

           7
             Chainalysis (2023) produces an annual summary report that tracks possible amounts of stolen funds,
       scams, sanctions, dark markets, ransomware, cyber security, fraud shows, child abuse materials, terrorism
       finance, and malware. They estimate over $20 billion in such total illegal activity in 2022 with $5.9 billion in
       scams in 2022, most of which they estimate to be investment and giveaway scams, not romance scams. They
       note that their figures are undercounting and that romance scams appear to be growing. Reiter and Bitrace
       (2024) examines blockchain addresses associated with two U.S. and two Chinese pig butchering victims and
       shows overlap in the addresses where funds are sent. Sokolov (2021) finds that Bitcoin transaction activity
       and fees increased around times of ransomware activity in 2014-2015.
           8
             Griffin and Kruger (2024) briefly survey forensic crypto research.


                                                              7
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 27 of 68 PageID #: 69




       of dollars of fake trading and over 70% of centralized exchange volume, with varying degrees
       across exchanges.

             Third, we contribute to the literature on organized crime. In a survey of the literature,
       Levi (2015) notes that the lack of access to capital, and little overlap between the licit and
       illicit economy makes criminal enterprises rely on the re-investment of profits for growth.
       El Siwi (2018) notes that the recognition that “money is the lifeblood of organized crime”
       led to the adoption of the anti-money laundering (AML) regime in Italy.9 Conrad and Meyer
       (1958) show how the strong economic incentives of slavery meant that the activity would have
       likely persisted if not for political intervention. Organized crime often purchase legitimate
       enterprises for money laundering (Mirenda et al., 2022) or utilize cash and various shell
       companies to obfuscate transactions moving into the banking system. Overall, examining
       criminal fund flows in the traditional banking system or through cash transfers is primarily
       limited to prosecuted case records, which explains the lack of academic research and reliable
       estimates of such activity. In a survey of the literature, Levi (2015) states: “we have little
       information about the mechanisms of financing.” This paper seeks to partially fill this void.
       1.2     Background on Pig Butchering
             Romance and related friendship scams appear in various forms. In this section, we
       describe common variants discussed by documentaries, investigative reporting, and online
       blogs.10 Romance scams often begin with seemingly random messages in the form of a
       text, WhatsApp message, or messages on social media platforms to the wrong person.11
       The scammers are looking for a victim who is lonely, going through tough times (such as


           9
             Draca and Machin (2015) survey a growing literature on the economic relation between crime and
       unemployment, earnings, and education, and find that the economic incentives for crime are important.
       Leukfeldt et al. (2019) examine criminal investigations of organized crime in the Netherlands and find that
       technological knowledge for cybercrime is often gained through a smaller set of technically skilled enablers
       in online market places.
          10
             In-depth descriptions by investigative reporters and documentarians include sources such as ProPublica,
       the BBC (via YouTube), and Faux (2023).
          11
             The UN (2023) notes that contact in the forms of “Boo, Facebook, Grindr, Hinge, Instagram, Lazada,
       Line, LinkedIn, Meet Me, Muslima, OkCupid, Omi, Shopee, Skout, Telegram, TikTok, Tinder, WeChat,
       WhatsApp, and Wink.”


                                                            8
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 28 of 68 PageID #: 70




       a medical condition or divorce), and has sufficient cash.12 First, there is a friendship or
       trust-winning stage, often spanning multiple months, which can also include the illusion of
       romantic potential.

           After the scammer has earned the victim’s trust, the topic of investments will arise.
       Victims, often with little or no crypto exposure, will be encouraged to open an account at
       a legitimate, well-known crypto exchange that victims can verify, trust, and easily transfer
       funds to that account. Scammers will claim to have an edge at another seemingly profes-
       sional platform and encourage victims to transfer crypto funds to a provided crypto address;
       however, this second platform is fake or spoofed, and the crypto address is actually owned
       by the scammer. On the fake platform, it will appear as if the victim has quickly generated
       significant returns. Often the person is encouraged to withdraw funds from the platform
       back to the original account at the legitimate crypto exchange to build trust. This is known
       as an inducement payment because it induces the victim to send more funds. Through this
       process, the scammer can capitalize on both cryptocurrencies’ reputation as a viable new
       technology, as well as the infrastructure connecting the traditional financial system and the
       cryptocurrency ecosystem to easily onboard funds.

           Upon feeling more certain that the investment opportunity is real, victims often make
       larger deposits. Some victims have drained their savings and investment accounts, borrowed
       up to their credit card limit, paid penalties to convert their retirement funds, borrowed from
       friends and family, or placed another mortgage on their home. In the final stage where a
       victim seeks to withdraw funds, they are often asked to pay “taxes” on the fictitious profits
       before the funds can be withdrawn.13 Ultimately, the scam does not end until the victim
       cuts contact, or the scammer is sure that the victim is bled dry of funds. The scammers

          12
             A survey by the Global Anti-Scam Organization of 550 victims showed that victims from all stages in life
       are susceptible. Victims typically range between 30 to 60 years old, are often well-educated, and include both
       men and women. https://www.globalantiscam.org/post/statistics-of-crypto-romance-pig-butchering-scam
          13
             A survey of 550 victims as of 2022 found that 77% emptied their savings accounts and 33% were driven
       into debt by scammers. https://www.globalantiscam.org/post/statistics-of-crypto-romance-pig-butchering-
       scam


                                                             9
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 29 of 68 PageID #: 71




                               Exhibit 1-E




    A REUTERS SPECIAL REPORT

    Crypto scam: Inside the billion-dollar ‘pig-butchering’ industry



           Fraudulent crypto investment schemes directed from Asia known as “pig butchering” have become a global
          billion-dollar industry. But little is known about those who beneﬁt. Reuters traced at least $9 million linked to
          such scams to an account registered to a well-connected representative of a Chinese trade group in Thailand.

                                          By POPPY MCPHERSON and TOM WILSON   Filed Nov. 23, 2023, 11:45 a.m. GMT




       A
               t a Thai police headquarters in October 2022, Chinese businessman Wang Yicheng congratulated one of Bangkok’s most
               senior cybercrime investigators on his recent promotion, presenting the official with a large bouquet of flowers wrapped
               in red paper and a bow.

       Wang, the vice president of a local Chinese trade group, wished the new cybercrime investigator “smooth work and new
       achievements,” according to the group’s website, which displays photographs of the event.

       Over the past two years, Wang has forged relationships with members of Thailand’s law-enforcement and political elite, the trade
       group’s online posts show. During that time, a cryptocurrency account registered in Wang’s name was receiving millions of dollars
       linked to a type of cryptocurrency investment scam known as pig butchering, a Reuters investigation has found.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 30 of 68 PageID #: 72




      In total, crypto worth more than $90 million flowed into the account between January 2021 and November 2022, according to
      registration documents and transaction logs reviewed by Reuters. Of that, at least $9.1 million came from a crypto wallet that U.S.
      blockchain analysis firm TRM Labs said was linked to pig-butchering scams. Two other major crypto-tracking firms also said the
      account received funds linked to such scams.

      The victim of one of the scams was a 71-year-old California man. He sent money to crypto wallets that channeled more than
      $100,000 into the account in Wang’s name, according to blockchain analysis company Coinfirm. The man’s family told Reuters
      he lost about $2.7 million, his life savings, after falling prey to someone claiming to be an attractive young woman called Emma.




      A 71-year-old man living in California says he lost about $2.7 million last year a er falling prey to a crypto investment scam. Funds linked to that scam reached an account in the
      name of Chinese businessman Wang Yicheng, Reuters found. REUTERS/Carlos Barria



      The previously unreported transactions provide rare insight into the finances of pig-butchering scams, which involve engaging
      unsuspecting people online. Scammers cultivate trust and then persuade victims to invest in fraudulent crypto schemes,
      sometimes via fake websites built to look like legitimate trading platforms. Sometimes the targets initially receive real returns to
      trick them into believing the scheme is legitimate.

      Such scams have drawn intensifying scrutiny from global law enforcement over the past year, but little is publicly known about
      the people behind them.

      Wang, who is 41 according to the account registration documents, didn’t respond to detailed questions for this article. Neither did
      the Thai government, the Thai police or the Bangkok-based trade group Wang represented, the Thai-Asia Economic Exchange
      Trade Association.

      Some aspects of the pig-butchering operation remain murky. Lisa Wolk, a blockchain intelligence analyst at TRM, said the crypto
      account in Wang’s name “is a node in a money laundering network and not necessarily the ultimate recipient of funds.” Reuters
      was unable to determine whether anyone else benefited from the account or used Wang’s identity to open it.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 31 of 68 PageID #: 73




      Chinese businessman Wang Yicheng has forged relationships with some of Thailand’s law-enforcement and political elite. Here, he congratulates a police cybercrime investigator on
      a promotion. The photo was posted by the Thai-Asia Economic Exchange Trade Association to its WeChat account in October 2022.



      In January, agents from the U.S. Federal Bureau of Investigation and the U.S. Secret Service attended a briefing about cyber
      fraud, according to Erin West, a California prosecutor specializing in cybercrime who participated. A 72-page presentation
      prepared for the attendees, which Reuters reviewed, provides details on cyber scams operated from Southeast Asia and cites
      Wang as among alleged beneficiaries. The presentation depicts money flowing into a crypto wallet identified as belonging to
      Wang, notes his role at the Thai-Asia association, and includes a picture of his identity card and other photos of him.

      The FBI and Secret Service declined to comment on the briefing, or on whether Wang was part of any investigation. The briefing
      was given by the Global Anti-Scam Organisation, a U.S. non-profit that advocates for fraud victims and investigates cases.

      The crypto account registered to Wang was held at Binance, the world’s largest crypto exchange, according to three blockchain
      analysis firms. Asked about the account, Binance spokesperson Jessica Jung declined to comment on individual users or Reuters’
      findings. In an August post on its website, the company said the number of reports of pig-butchering scams it had received this
      year was double that of 2022, an increase it attributed to an influx of inexperienced crypto investors and scammers looking to
      exploit them.

      Crypto fraud has emerged as a multibillion-dollar criminal specialty that has entrapped victims around the world. In the United
      States alone, victims reported losses of $2.6 billion from pig butchering and other crypto fraud last year, more than double the
      previous year, according to the FBI. The true scale of the losses is unknown because victims are often too embarrassed to report
      crimes to authorities.

      In April, the U.S. Department of Justice said it seized about $112 million worth of crypto linked to pig-butchering scams, without
      identifying suspects. A warrant that resulted in the seizure of more than half that amount specified a Binance account registered
      in Thailand.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 32 of 68 PageID #: 74




      Wang is vice president of a Bangkok-based trade group called the Thai-Asia Economic Exchange Trade Association. The screenshots of him here are from the association’s website.
      REUTERS/Florence Lo




      ‘Absolute devastation’
      West, the California prosecutor, said many victims in the hundreds of pig-butchering cases she has handled since early 2022 have
      lost more than $1 million. Many are never able to recover their money. West said at least one victim died by suicide and another
      attempted suicide. “I’ve never seen this level of absolute devastation,” she added.

      Pig-butchering scams originated in China, financial crime specialists say. Many are now run by criminal organizations out of
      Southeast Asia that use victims of labor trafficking to contact individuals around the world, the U.S. Treasury said in September.
      Cases are difficult to prosecute. Perpetrators are typically “ruthless transnational organized crime syndicates” that thrive on
      corruption, Jeremy Douglas, regional representative of the United Nations Office on Drugs and Crime, told Reuters.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 33 of 68 PageID #: 75




      Erin West, a California-based prosecutor specializing in cybercrime, said many of the victims of pig-butchering scams she has dealt with have lost more than $1 million. Erin
      West/Handout via REUTERS



      Several scams connected to deposits made into the account in Wang’s name were run from an industrial park on the Myanmar-
      Thai border, one of the blockchain analysis firms told Reuters. Workers are trafficked to the area, known as KK Park, by gangs
      that force them to con people online, according to two former workers and groups that support workers or scam victims.

      The Thai government, Myanmar’s ruling military junta and the Myanmar border guard that controls the area didn’t respond to
      questions about the industrial park or whether gangs operate there. Reuters was unable to contact the park’s owners.




                           “They will try to use your weakness to gain what they need.”
                                                       The 71-year-old crypto investment fraud victim, on the people who scammed him




      China has announced a crackdown on cyber scams in recent months in partnership with Thailand and Myanmar. Thailand has
      also said it is combating cyber fraud. Thai police in September announced the arrest of several Chinese nationals in connection
      with a crypto investment fraud operation.

      Binance publicly said it assisted Thai police with a probe into “a significant pig butchering scam,” and that about $277 million of
      assets were confiscated. Thai police didn’t respond to questions about the operation or whether there was any connection to
      Wang.


      Birds’ nests to crypto
      Wang was born in 1982 in the port city of Ningbo on China’s east coast, according to the identity card used to register the crypto
      account.

      In his late twenties and thirties, he started several businesses in China, mostly related to technology, including computer and
      electronics sales, according to publicly available corporate records. The records show one business involved selling birds' nests, a
      culinary delicacy in China often used in soups.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 34 of 68 PageID #: 76




      By 2018, Wang had moved south to the coastal city of Xiamen, according to the identity card. By the following year, all of his
      Chinese-based businesses had been de-registered, apart from one in Ningbo that shut down in September of this year, the
      corporate records show. That firm, called Ningbo Laizheda E-Commerce Company, didn’t respond to a request for comment.


      RELATED CONTENT


                        How crypto giant Binance became a hub for hackers, fraudsters and drug tra ickers




                        Binance's Zhao pleads guilty, steps down to settle US illicit finance probe




                        'Hundreds of thousands' tra icked into SE Asia scam centres - UN




      Wang branched out into businesses in Thailand. In 2018, he became a partner of the Thai arm of a major Chinese maker of crypto
      production gear called Bitmain, according to Thai corporate records. In response to Reuters’ questions, Bitmain said Wang was
      not an employee but a “close partner” and customer who purchased its bitcoin mining machines. Bitmain said it supplies "digital
      miners in the legal way."




      $2.6bn
      Reported losses from pig butchering and other crypto fraud last year in the U.S. alone.



      The crypto account in Wang’s name was registered in November 2020, according to the financial records Reuters reviewed. The
      three blockchain-analysis firms determined the account was with Binance. The documents, which relate to the Binance account,
      span two years to November 2022. They show that the account was accessed mostly from Bangkok.

      Deposits started arriving in the account in early 2021 and quickly increased in size to include sums of more than $100,000, the
      financial records show.

      By October 2021, Wang had become vice president of the Thai-Asia Economic Exchange Trade Association, according to the
      group’s website. The group formed in 2019 to unite overseas Chinese businessmen in Thailand, the website says. It says the group
      is committed to promoting cultural exchanges and business investment between Thailand and China and other Asian countries.

      The group also publicly espoused the Chinese government’s political positions. In an undated video on the group’s website, Wang
      and other association leaders chant, “Build a Thai-China bridge, tell China's story well!”

      The Thai-Asia trade association until recently shared its small office building in Bangkok with another Chinese group, the
      Overseas Hongmen Cultural Exchange Center, corporate records and photographs show. The two groups also shared some
      common leadership: The head of the Overseas Hongmen group was an adviser to the Thai-Asia association, according to the Thai-
      Asia association website.

      In February, Thai police said it raided the Hongmen group’s part of the office, alleging the group had ties to the 14K Triad. The
      United States has called the 14K Triad one of China’s largest criminal organizations. In 2020, Washington sanctioned Wan Kuok
      Koi, known as Broken Tooth, accusing him of being a 14K leader and attempting to create a network of businesses, including
      cryptocurrencies, to export crime and co-opt elites in Southeast Asia. He could not be reached for comment.

      A month after the Thai police raid, the Overseas Hongmen Cultural Exchange Center was dissolved, corporate records show.
      Neither the Hongmen center nor the Thai-Asia association responded to questions on the raid.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 35 of 68 PageID #: 77




                                                                                                                                                                                 
    The Thai-Asia Economic Exchange Trade Association, based in the suburbs of Bangkok, says it formed in 2019 to unite Chinese businessmen in Thailand. REUTERS/Sta




                                                                                                                                                                                 
    The association shares a building with another Chinese group called the Overseas Hongmen Cultural Exchange Center, which Thai police raided earlier this year. REUTERS/Sta
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 36 of 68 PageID #: 78




      ‘Honorary advisers’
      Wang and other trade group leaders have courted senior officials in Thailand. The trade group’s website details at least 100
      meetings since its formation with officials in the Thai police and government, as well as with staff of the Chinese embassy in
      Thailand and visiting Chinese officials.




                                                                                                                                                                                   
      Among the Thai-Asia Economic Exchange Trade Association’s “honorary advisers” is Kornchai Klaiklueng, assistant to Thailand’s national police chief and former head of the
      cybercrime police. Photo via Royal Thai Police website
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 37 of 68 PageID #: 79




      Reuters found no evidence that Thai and Chinese officials were aware of the pig-butchering connections to the account in Wang’s
      name. The Thai government, the Thai police and the Chinese embassy in Bangkok didn’t respond to questions about the
      meetings. China's foreign ministry, in response to questions about Wang and his interactions with Chinese officials, said, "We are
      not aware of relevant circumstances."

      The association also appointed at least eight senior Thai officials as “honorary advisers,” according to its website. It says some of
      the trade group’s leadership served as advisers to the police, including its president, who advised the police cybercrime unit. The
      association’s representatives and officials frequently exchanged gifts, from whisky and fine wines to “precious Buddha statues,”
      the website details.

      Among the advisers named on the association’s website is Kornchai Klaiklueng, who headed the Thai police’s cybercrime division
      until last year and is now assistant to the national police chief. Photos posted on the trade group’s social media account show
      Kornchai participated in events with Wang or other trade group leaders on more than 10 occasions between December 2019 and
      August 2023.

      Another listed adviser is Chatchaphantakarn Klaiklueng, the head of the Bangkok division of the cybercrime police.
      Chatchaphantakarn is the police official to whom Wang paid his congratulatory visit in October 2022. Kornchai and
      Chatchaphantakarn are brothers according to Chatchaphantakarn’s Facebook page. They have another brother, Ponganan
      Klaiklueng, who’s also a cop, according to Ponganan’s social media account and a local media report. Ponganan is also an adviser
      to the trade group, the association’s website says.

      During a November 2021 visit to the trade association’s office, Chatchaphantakarn praised the friendship between Thailand and
      China and said his family has “Chinese blood,” according to a video posted to his Facebook page. At the time, Chatchaphantakarn
      ran training for the Thai police, the trade association’s website says.

      Weeks later, the association announced on its website that it was funding a renovation of a police shooting range and other
      facilities. The association didn’t respond to questions on the funding.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 38 of 68 PageID #: 80




      Wang and other members of the Thai-Asia trade association take part in a pistol shooting competition organized by the Thai military. The photo was posted by the Thai-Asia
      Economic Exchange Trade Association to its WeChat account in August 2022. Faces pixelated by Reuters.



      The Thai police and the three brothers didn’t respond to requests for comment on the police officials’ relationship with Wang.

      Among the most senior of Wang’s contacts is Thammanat Prompao, Thailand's agriculture minister. A political power broker, he
      played a key negotiating role in the recent formation of Thailand’s coalition government.

      Thammanat was sentenced to prison in Australia on drug-trafficking charges in the 1990s, according to Australian and Thai court
      records. He served four years in prison and was released in 1997, according to Australian media reports. He told Thailand’s
      parliament in 2020 that he was caught with flour.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 39 of 68 PageID #: 81




      In a December 2021 meeting with Thammanat at his office in Bangkok, Wang and other representatives of the trade group
      presented the politician with a hamper that included bottles of Johnnie Walker whisky, according to the association's website.
      Thammanat has also held an honorary position at the association, according to a video and articles on the trade group’s website.

      Thammanat didn’t respond to requests for comment. In a video published in November 2022 by Thai PBS, a local TV channel,
      Thammanat denied any involvement with Chinese criminals in response to media reports alleging that he had such ties.




      Thammanat Prompao, Thailand’s agriculture minister, in 2019. He is also among the Thai o icials that the Thai-Asia trade group says held an honorary position at the association.
      REUTERS/Soe Zeya Tun




      ‘Complex layering scheme’
      In 2022, the volume of crypto reaching the account in Wang’s name mushroomed to almost $79 million, a near six-fold increase
      on the previous year, the account records seen by Reuters show.

      Coinfirm, the blockchain analysis firm that reviewed the transaction records for Reuters, said deposits from funds linked to pig-
      butchering scams it previously investigated began entering the account as early as February 2022. Stolen crypto was moved to the
      account via a “complex layering scheme,” involving multiple different wallets, Coinfirm’s then-head of fraud investigations
      Roman Bieda told Reuters in May. The crypto moved between “dozens” of wallets and was mixed with funds from other sources,
      he said.

      Some $9.1 million flowed to the account registered in Wang’s name from the wallet linked by TRM to pig-butchering scams. The
      funds were moved in more than 50 transactions between August and October 2022.

      Coinfirm linked the funds to pig-butchering scams based on information gathered from multiple victims and from publicly-
      available information, Bieda said.

      Coinfirm said it identified funds originating from four pig-butchering scams. One involved a website called bigoneit.site, which
      channeled some of the funds the California man invested in the scam to the Wang-registered account. The site was a fake version
      of a legitimate crypto exchange called BigONE.

      The 71-year-old man works in a home improvement store and lives alone. A Chinese American who immigrated to the United
      States in the 1980s, he built up his savings by working and contributing to a pension, while also trading stocks, according to his
      niece.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 40 of 68 PageID #: 82




         In March 2022, he received a text message from someone claiming to be a young woman, according to messages he shared. The
         texter later identified herself as “Emma.” Over the following weeks, the man and Emma built up a rapport. Emma encouraged
         him to send crypto to the fraudulent website, the messages show, interspersing small talk and trading tips with what she said were
         photos of herself - a slim young woman with long hair.

         By July last year, the California man had poured some $2.7 million into the scam, his niece said. The victim, who spoke on
         condition of anonymity, said Emma’s “smooth talking” convinced him that he could make money. He discovered he’d been
         scammed when he was unable to withdraw his funds. His family reported the theft to law enforcement, incident reports show.

         “I trusted her,” he said, adding, “my heart is too kind.” Scammers will “try to use your weakness to gain what they need.”




                                                                                                                                                                                       
    Someone claiming to be a young woman called Emma contacted the 71-year-old California man. The two built up a rapport, and she encouraged him to send crypto to a website purporting to
    be a digital currency exchange. REUTERS/Carlos Barria
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 41 of 68 PageID #: 83




                                                                                                                                                   
    “Emma” interspersed small talk and trading tips with photos, including this one, of a woman that she said was herself. REUTERS/Carlos Barria



         The genuine crypto exchange BigONE said it takes fraudulent websites seriously, and that it had received at least 10 reports of
         such sites.

         "We always emphasize in any promotional material that only big.one and bigone.com are official domains," the Seychelles-
         registered company said.

         Reuters was unable to reach the operators of the fake website.

         More than $102,000 originating from fraudsters’ wallets that the California man identified were deposited into the account in
         Wang’s name between June 26 and Oct. 23, 2022, according to Coinfirm.

         Nearly all of the crypto deposited in the Wang-registered account was moved to other wallets, the transaction records reviewed by
         Reuters show. Between January 2021 and October 2022, about $87.5 million was transferred to almost 50 other crypto wallets,
         including at least five registered at regionally based crypto exchanges, Coinfirm said.


         The account goes dark
         On Nov. 3, 2022, activity in the crypto account registered to Wang abruptly stopped, the financial records show. The pattern of
         transfers to the account suggests Binance may have started an investigation and suspended the account, Coinfirm said.

         Any financial firm should carry out additional checks on clients whose accounts process large amounts of money, said Ross
         Delston, a former U.S. banking regulator and expert witness on anti-money laundering issues. Red flags likely to trigger checks on
         the source of funds include a high volume of transactions and frequent deposits of round-numbered figures, Delston said.

         The account registered to Wang frequently received such deposits, according to the financial records.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 42 of 68 PageID #: 84




      Wang, at far right, and other trade group representatives present Thammanat, center, with a hamper during a meeting in Bangkok. Other faces pixelated by Reuters. The photo was
      posted by the Thai-Asia Economic Trade Exchange Association on its WeChat account in December 2021.



      Binance didn’t respond to questions about the activity in the account in Wang’s name or any checks it made on the account.
      Binance said that it works to combat pig butchering, helping law enforcement identify, freeze and seize criminal assets, providing
      investigative training, and running crime prevention campaigns.

      Binance chief Changpeng Zhao stepped down and pleaded guilty to breaking U.S. anti-money laundering laws on Tuesday, as part
      of a $4.3 billion settlement resolving a years-long probe. Over five years, Binance processed transactions by users who "laundered
      proceeds" of criminal activity including scams, U.S. authorities said.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 43 of 68 PageID #: 85




      Wang has continued to court officials. In August, he helped host an event in Bangkok, according to photos and a description
      published on the Thai-Asia association’s WeChat account.

      Standing on a red carpet under a chandelier and flanked by floral decorations, Wang “warmly welcomed” the guests. They
      included a government minister, senior police officers and Chinese embassy officials, according to the trade group’s post.

      Among those in attendance: Kornchai Klaiklueng, the assistant to the national police chief who previously headed up the
      cybercrime unit.




      The trade group Wang represents hosted an event this year attended by police o icials Kornchai Klaiklueng, second from right, and Ponganan Klaiklueng, fourth from right. Other
      faces pixelated by Reuters. The photo was posted by the Thai-Asia Economic Exchange Trade Association to its WeChat account in August 2023



      REUTERS INVESTIGATES


                          More Reuters investigations and long-form narratives




                          Got a confidential news tip? Reuters Investigates o ers several ways to securely contact our reporters




      Pig Butchering
      By Poppy McPherson and Tom Wilson
      Additional reporting by Chen Lin in Singapore, Carlos Barria in San Francisco, the Reuters Sydney bureau and the Reuters Beijing bureau
      Photo editing: Edgar Su
      Art direction and lead illustration: Eve Watling
      Edited by Cassell Bryan-Low
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 44 of 68 PageID #: 86




                 
      Follow Reuters Investigates   




      OTHER REUTERS INVESTIGATIONS




      OnlyFans Exposed                                                                   Hanging Judges
      OnlyFans makes amateur porn creators rich. It has also faced 100-plus              Judges involved in Trump cases face an unprecedented wave of threats
      complaints of nonconsensual porn–including a woman who says her rape was           following the ex-president’s attacks on judges as corrupt and biased.
      filmed and sold.




      Ethiopia’s Quiet Crackdown                                                         Putin’s war
      How a secretive Ethiopian security committee ordered extra-judicial killings and   Reuters traced one Russian o icer class through training to the Ukraine
      illegal detentions to crush an insurgency in the largest region, Oromiya.          battlefield, where some died and some were decorated.




      Latest                                                                              Browse
      Home                                                                                World
      Authors                                                                             Business

      Topic sitemap                                                                       Markets
                                                                                          Sustainability
                                                                                          Legal
      Media                                                                               Breakingviews
            Videos                                                                        Technology
            Pictures                                                                      Investigations
            Graphics                                                                      Sports
                                                                                          Science
                                                                                          Lifestyle
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 45 of 68 PageID #: 87




      About Reuters
      About Reuters
      Careers
      Reuters News Agency
      Brand Attribution Guidelines
      Reuters Leadership

      Reuters Fact Check
      Reuters Diversity Report

      Stay Informed
      Download the App (iOS)
      Download the App (Android)
      Newsletters



      Information you can trust

      Reuters, the news and media division of Thomson Reuters, is the world’s largest multimedia news provider, reaching billions of people worldwide every day. Reuters
      provides business, ﬁnancial, national and international news to professionals via desktop terminals, the world's media organizations, industry events and directly to
      consumers.



      Follow Us




      Advertise With Us    Advertising Guidelines     Coupons       Purchase Licensing Rights



      All quotes delayed a minimum of 15 minutes. See here for a complete list of exchanges and delays.



      Cookies   Terms of Use     Privacy    Digital Accessibility    Corrections   Site Feedback



      © 2024 Reuters. All rights reserved
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 46 of 68 PageID #: 88




   Exhibit 1-
 Exhibit 1-
Receiving Exchange Transaction Ledger
This ledger collects all transactions in which assets traceable to the Harrises were transferred to addresses associated with one of the Receiving Exchanges.
               Receiving
Date           Exchange    Asset Transaction Hash                                                   Initiating Address                           Receiving Address                            BTC Amount      USD Amount

   3/1/24 17:12 Revolut    BTC   7b9e47576406a7af8a3c54335e57fcb8fa6713c0269ce5a564b9e9b0cf75b146   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy      0.09752991      5966.83893

   3/6/24 14:41 Revolut    BTC   2bfd36d30659e28d3c865868c93656c6363a30d176651684d7dbb33f41bfe9ac   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy      0.02977233      1992.77965

  3/20/24 16:37 Revolut    BTC   ed6622240afe8d924af23a5caf35366b50846f4b3d847120319c7965e8e0daeb   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy      0.05501777      3406.92149

   3/31/24 8:13 Remitano   BTC   fb9762f35517d528af8ec6845795520179d827b61b2a86088a62c5e773a76ead   bc1qks90m8fsjdtck0euylpq0zt6p8u2j52wwqsy7t   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.07144691      5022.91282

    4/1/24 4:38 Remitano   BTC   a89ae6523e72509ed8d7c997bdb8f21500b3276f4c198dfe9b322a6fd52747a5   bc1qks90m8fsjdtck0euylpq0zt6p8u2j52wwqsy7t   38Ep5mFzh6oNbuFXSL1Hvk3g1TwXUMX8xv              0.00990962        699.2219

   4/8/24 12:48 Remitano   BTC   cf7d232b637bd5d97625cb913611c1d55b23605925d3c2c71fa8e4b65bc6551f   bc1qks90m8fsjdtck0euylpq0zt6p8u2j52wwqsy7t   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01154274       800.57351

  4/15/24 13:55 Remitano   BTC   ab3b200823c9069e753c57bf9b757cdbbfbde538c0c7493eaeb614b6754a8876   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.00708734       468.80706

  4/15/24 17:39 Remitano   BTC   9926d07a6497459676fc66f2157cfed354553e78c1cb657b90b9d1319073e8fe   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.02150766      1387.46087

  4/15/24 18:57 Remitano   BTC   f4be2147dfe0e1295361200b0b2be9d027233d73e4ba912c3708c86fc9c95cd9   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.03127239      1987.00951

  4/16/24 11:13 Remitano   BTC   931acaae1300e658ea1e2ea719ff913a800fd54185e5c5d9cd0dfa0c178ce2db   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.02948534      1870.76433

  4/16/24 14:43 Remitano   BTC   be23f141eddc2a1c7d670583470b9bc7928b1c882c70be71ae9f1b5ba7874278   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.08996085      5588.67567

  4/16/24 16:41 Remitano   BTC   2619d35853ef76b7fb487c0e961226445668557395188c0ccb4a91ba2e830df8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.00634298       402.44476

  4/17/24 11:43 Remitano   BTC   346183bbf072b4f7acac1692533a2a48f26f65488a9bb867c3ff4dede698faa8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.03391575        2139.667

  4/17/24 18:17 Remitano   BTC   86f651035708c4ae93c7403d0c4b3e2bf03dd6ef2aa50083b02b43c971058466   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.02025719      1230.67352

   4/18/24 7:25 Remitano   BTC   79c61dce88e1ce29ff729ebbfb553b9533f3eb91b723e7dc30cf21aaf8bd790d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.00972095       593.12065

  4/18/24 12:14 Remitano   BTC   2a6ff4adeecd0cbbda806533e340816d525ce5468200c1b744feac56ff4aa040   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.02841014      1782.10018

  4/18/24 16:32 Remitano   BTC   80854bf6d99a24945d3f92d8eb4c99b11ca9fc07bfb4b0f0cfc6de761ad1321d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01390539       881.30318

   4/19/24 6:26 Remitano   BTC   fc624623c1beab88154896dada59d8bffd2af05560cd15563493c1b93830b817   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.03392351      2106.43931

  4/19/24 13:12 Remitano   BTC   5726e3cbd6d50956028789e8f3bab4e9fb921246a95b5269962a1207e7a6bb33   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.03503836      2289.11773

   4/20/24 9:39 Remitano   BTC   840d03124b9624a3d7e82c01d8d5ebf7ee332434f494a8f8d4cdb3f6c68c4612   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.00785066       501.24533

  4/20/24 12:31 Remitano   BTC   ddaa23422a17720a646a02afe93b7a6245e93b6a9c22cb75b23668e9a62aadc8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.04490203      2866.91649

  4/20/24 21:16 Remitano   BTC   79e19499bf7516bcadda58cc988073a7d7fac80420283bc1a65a5d8a161cb8ad   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3A34Ggh1EUNXe4K8ayTLNLdKYAUDTnEU63              0.06175687      4003.38972

   4/21/24 4:56 Remitano   BTC   ff20937d45a223781f29fc368faca6cdc3b0a70999ae7004fbe61926b032496b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.06246087      4053.32071

  4/21/24 14:21 Remitano   BTC   b6126d8e83154587f02e1ff606947ab4bf16b4aea4e9ebb61be481441ae466c3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.03076209      1999.74349

  4/22/24 10:41 Remitano   BTC   64898a49a4a8659b3932bc7b46ed20e6e065dab12e7c3da2ecdeff6e98ab00aa   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.02159675      1402.83461

   4/24/24 8:56 Remitano   BTC   e5baa00245d3520e400c3b35219fc05f965d15d69dc72fc6ba716456d17b13fa   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.00935874       623.65109

  4/24/24 12:11 Remitano   BTC   6d7969f6eed2b0a5cb205a96330abfa544ffe69221b9a04281f67e106569b2ec   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.04056038      2699.34561

  4/24/24 21:44 Remitano   BTC   90bb3b020da071996509ed81d937ab4677573655a61986c21f582bd9f1c4b637   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf               0.0238616      1533.27054

   4/26/24 5:47 Remitano   BTC   25ae9f634ea82f7e07a01aa02d061ef86fbfa21b6c16cc2fe3ceaae0801e31ad   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.10593255      6831.43019

   4/26/24 9:53 Remitano   BTC   62df4887bd47d4f8d54958d89a6840a0410050a330f95f0586838a7356094d18   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01397335        901.4134

  4/26/24 11:03 Remitano   BTC   3e96d1f215da3dcbcdf5fdabbaa6a44949736bfd6ca6588cd58494f954b63028   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf               0.0716741       4614.6072

  4/26/24 12:26 Remitano   BTC   d9e87eb25d65dd609657aac1dd39f8cf3bd96b6dfb2315b1478b3f3d229ee6e2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.08341163      5355.74732

  4/26/24 13:00 Remitano   BTC   656a90f118fceb58b3e9bd8e546d0184beb9bab250c39f58114511b1605a7b9a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01882622      1208.80598

  4/26/24 13:20 Binance    BTC   f4a9fd1a7606003f0c5a0352c01c6a33a41b0cc3a057a86bf155cd6b0fff04c2   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   13mLDAfVfyzD8Vf6x9YZ5pALc3g8TXqPix              0.17209098      11026.6022

  4/26/24 15:27 Remitano   BTC   8e7dec54c4dbebafe0e9f395e873f2884e2958447052909cf21871a9d2368752   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.02803407      1786.97292

  4/26/24 18:25 Binance    BTC   bac90d1e542d4cdcab9d18f5621a138aa35c35bdc4d5d034774b09245567c6db   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   1MUxDUmHAVskKATJDCWgk8SJ9ZBHreZAbh              0.01563457      1008.24981

   4/27/24 9:36 Remitano   BTC   0c88f8122ca89936e34a020a6b3a67c36869dbb5815e165d45c48f2b6f0ea3f8   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf               0.2542922     16016.32721
                                                                                                                                                                                                                              Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 47 of 68 PageID #: 89
4/27/24 15:23 Remitano   BTC   345b0981a8657ce44b2a4074338fd5c8743077a66fe6d7bd4aa7bdf760bf3a7f   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3MoVdQzjhYJrz9umg4v1oBRRz5pe9kZVcu           0.00665793     420.57811

 4/28/24 6:14 Remitano   BTC   e7c697d7bd355cc554184feedd5baee3220c735f1e66b71efcb384a2bd484160   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05324745    3377.72217

 4/28/24 9:02 Remitano   BTC   37266a1cd02e3f0d9ff8094acc7c3979e6b4c22dbf66bf39f84c40a46c33a531   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01456955      930.6016

4/28/24 10:39 Remitano   BTC   a54a83083612d2c3d262c65bc119eefcfba21387a76541e6fdc5bb9267e113e7   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.06339383    4043.50128

4/28/24 17:02 Remitano   BTC   4a54dcb2f5706a06d3589e0e9c043abfd60f45b71e246678c33a1988a7e0e32a   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.10447732     6641.5689

 4/29/24 6:44 Remitano   BTC   afa85cf850589d7f33ac2b84614b2a5643c6a7e31e9b750a37c8ce3cf9734900   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01845554    1149.94274

 4/29/24 9:09 Remitano   BTC   829908b95ef1f3719e76187dd1cc9f0dc76e2f5060cc51fd27b97de3b6cc832a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02714818    1694.17131

4/30/24 12:58 Remitano   BTC   ec4f748a3bd48202b8974b09e5973568c39427c97f3805fb260b1b752ae00cc2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02052824    1310.67762

4/30/24 17:20 Remitano   BTC   28f2a2860e85d1374193a54fbca79d1b3db502563e99f9560035b18f39dbb0bf   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.03503483    2107.39232

4/30/24 18:56 Remitano   BTC   47f2dd4cd167345a0ddc3c291124738b6e97b73eb9f25a5cb5ab3595310c8c30   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06700114    4040.91714

  5/1/24 7:06 Remitano   BTC   7cc30b30a6290fdf12ffe49d50a2531dcd562d0a4a271ef6c5f89e4cc1c16633   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02569763    1533.46136

 5/1/24 10:42 Remitano   BTC   65e06b604c94be15e0ee67b551220fc3370eed5c96c6939e89a6ed0e2d22604f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01802482    1034.25858

 5/1/24 11:47 Remitano   BTC   adb433d963c0a25c7edabe916d99c0b8a69ebda6306f3158cfe296ac8467578f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02538592    1539.24911

 5/1/24 16:57 Remitano   BTC   b56ddbd318bf63d445c681a96090fb81912f01a6a9c8e9908c22e3d166b7c71c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01196738     680.86637

 5/1/24 19:03 Remitano   BTC   a94764cd0cef9d61d7a68631c991d3a4a6ee19317cc388bd18f57ec68ceaf306   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02031441    1231.74333

  5/2/24 7:31 Remitano   BTC   a9c2eb5684ae94cf40e307dda8ecb09ad5033cf913152482f483f4896edc9d96   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06475934    3733.24449

  5/2/24 9:25 Remitano   BTC   fb22d20a19eeb17a4398241fd42747138a1aa0b853e9b7f4fc06404d9523137c   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.27315496   15787.01277

 5/2/24 16:05 Remitano   BTC   bce267e61020208173db85e0e9b8bd4b82e7ae0bb18b42f544a3b8966b75132d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02935892     1738.8434

  5/3/24 6:59 Remitano   BTC   c622b96291947c008d41ab7c3524c9f4a8abb7e9f88d3f1c94f7eb767b6e74e0   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3A3NqjhLiexUzcfgGuVo19uzux8rnbqSVE              0.02254    1331.74998

 5/3/24 11:37 Remitano   BTC   a5510b086201d8bcea908961f01b68c4323cf16b563fb6df5c4cdd6e72be20c5   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3CaPngqFGiu8kSLEcp9uM5JvK97RdAGHBU           0.02945679    1740.42056

 5/3/24 16:39 Remitano   BTC   0e29589888eef3117c5abbcfcf0da65c1ea3a0c59f58a3a6b16735212eea1675   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3KE6diBJr2yCcd9HEUxH5KNd86s2tzPW2N           0.01216447     752.90272

 5/3/24 18:23 Remitano   BTC   87a1ab0bc25e8dc3a268c1ed3b381fab8dda62c918df67b2ea7397c33e94e235   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.07352273    4344.00595

 5/5/24 16:50 Remitano   BTC   705593389ae72ac5b58e774eb670802d182ad0d075a463e1a8b7fb83a3d72023   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3B9GDHG6WgrWeavz247zAvbd5WrC8rYF7y           0.00765139     491.83625

 5/5/24 18:50 Remitano   BTC   2ac6010e319f676cc2e0b0fc8b1f684a90ecf209b0031184c97531a0826c340b   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf            0.0579504    3716.27628

 5/5/24 22:32 Remitano   BTC   11387e7eac918938afd45ac004e3d95fbeb685c2e985ffca2ad23895205ddaa0   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.02634208    1683.37771

 5/6/24 21:32 Remitano   BTC   f13bb22e0432ff5c236db64e1b45c62221e2f59ecf0a1d24e507d3826d00c019   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.03151618    2000.35495

  5/7/24 7:35 Remitano   BTC   38eb311b6ee9e86f9c0cb082b4b1fb1548777a32ed42a4b38d2c64feefca2c6c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.03217305    2047.80659

 5/7/24 10:56 Remitano   BTC   03bbe10be0cd51bae67fcb37a18d14437ad7488b70ce847966fae3f03b794202   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.05660285     3623.5554

 5/7/24 11:50 Remitano   BTC   3fade7b6109d3e1171956ba4de8aa7620c0a7554a4e1287fa78f0af1635fb724   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.01837721    1160.85969

 5/7/24 17:23 Remitano   BTC   7b136e5fa864cce5d2e36d0049244d0e890672e6eb98ac58cfde8e06be75be07   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.05701505     3634.9546

  5/8/24 7:02 Remitano   BTC   58635e7c4b805f9c9f9e67bcd6691ebc5a1f4ead83ddab4524970e8d271aaff2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05764345    3589.34926

 5/8/24 10:47 Remitano   BTC   7e3d6d7a504d40e8bbe8b4fb2ce3420411a3dad49bf059666e67099dd6dda971   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy           0.01600216     995.52894

 5/8/24 12:51 Remitano   BTC   41d652a2aeef5664bcc88672d91e02f19de404d31fd093ddd872895e9a758515   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy           0.08639183     5393.1629

  5/9/24 6:36 Remitano   BTC   1a19550afb9c440acf82a54a93e456e8e85f1b17b749ad5752b944f18530c28d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3DGPG9Lh6iLSkxYf9UZxzxjcUKo36xUva9           0.03101634    1915.32909

  5/9/24 6:36 Revolut    BTC   90d55dd285f1d688b00625a5bd5c80c643483f4db00b7c7861892713ed3f7a17   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.11337991    7001.46568

  5/9/24 8:01 Remitano   BTC   9851a7f200d9c038b4fef19a02b544bc90d782c98fb14d1d41e31194d7a49c41   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW           0.01620206     995.73859

  5/9/24 8:24 Revolut    BTC   5f713dec365ccc4e651ade4658e4fb7407edaf3b56d8ecd7149dca99cdfcba66   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.08157585    5013.45025

  5/9/24 9:34 Remitano   BTC   f6518e683e3218aedf6ecf474e76960f9f41511d70e0ef15479279e294cb1069   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy           0.03640357    2234.17919

 5/9/24 12:34 Remitano   BTC   e1bfcb823d31b851ac82e3f108d8c7b9e7227012ddcaed74c2b6c73edeeedc9e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW           0.03043682    1862.11886

 5/9/24 12:41 Revolut    BTC   08e2004bb90043f78c8f3e5b61fadf1a2489d4fccb5c47a30656a1a4d038cd06   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.08146762    5003.82676

 5/9/24 14:54 Remitano   BTC   28bf9da3ee010ac2c9d9bd051c45e16628de4b9f9eefbca0d23c3238406e089c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW           0.00974534     598.64211
                                                                                                                                                                                                                       Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 48 of 68 PageID #: 90
 5/9/24 22:23 Remitano   BTC   98c4421d5f95dab48c29788f98f673c4d99f2cbf1037fbb84e467d40f1822eae   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   33heGnSTbA6U7WrfMBYoWYgCRBek2MrKTA           0.01322861      827.6546

 5/10/24 7:25 Remitano   BTC   9b0dd5e7961ffd237659ab1971686c58be5a513eef2c707a4fba6cd1863f8bc2   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.11200744    7094.08978

5/10/24 11:58 Remitano   BTC   278ec91989658fd801f6e92d8e2ad93cb987abd08ee5855ae36ded6e692daaa8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.01900458     1197.6692

5/10/24 12:39 Bybit      BTC   ce61abdc06bf14d046ba5362c96ba392ada514519eea23f104a73f2996258981   3KnqtxBsSywJ4ptqaQ56QWNh1JaTkDrkw8           14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb           0.57545563   36265.23107

5/10/24 13:55 Binance    BTC   12f25da1eb739e4e76c24e523d2f395fa144bf83d6936685b3853e23fd3af2c7   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   1DMhMwn4apg49oVjRpbaZqJDDLJaN6iqox           0.00237987     149.98157

 5/11/24 8:04 Remitano   BTC   af5e71aea106aa6b18c6729023e57ed1377fdbbc987dd1fb727c550373f283e2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.03115467    1898.91764

 5/11/24 8:08 Remitano   BTC   5a6e141d4fc46971ce45a03c0a373212bb903e0e603c5f55acec6bd50e061ac3   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   31jJbyCxErbbfkuGP1dtz2Pz9jt9SWNv83           0.01641318    1000.40466

5/11/24 14:01 Remitano   BTC   5182cb88286c591e58b18e7c2bbc929ed3ec98cff917a1302212f302789deb15   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.02796018    1701.35822

5/11/24 21:56 Remitano   BTC   77224d472b7487918b01175f148cf9d267da5f0bf5fef8186cf27dbc6f0b5d24   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.01801163    1096.17501

 5/12/24 1:51 Bybit      BTC   c112147033e10979afbb346573e4b09026261f9e28601733b9ee88dc77d844aa   3KnqtxBsSywJ4ptqaQ56QWNh1JaTkDrkw8           14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb           0.71452037   43459.40822

5/12/24 13:31 Revolut    BTC   db8a5298e0cf978b64e149a3b65d0fb57fccd3bb57a67dd0be34abc4bfb6ed66   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.06544229    4001.80192

 5/13/24 7:05 Remitano   BTC   80abbede5e2557f095a9f700d04cfa8f87d58f6bcd87c1b1da761d5259973a22   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03364662    2059.42617

5/13/24 10:12 Remitano   BTC   67a58704451aa699e61dd53c36eed3919ccd23f4375a636007c1cbe417cbb1a0   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02439771    1532.42724

5/13/24 14:47 Remitano   BTC   3472b444e86a4519cf395efc4a787cb5b09e08b6b128ed0dde2e23acb3da5857   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0600254    3776.54126

5/14/24 20:58 Remitano   BTC   f73b32c368cfed7b5946e7897d99696b005837ca9a6e9e8626d7dc2ba452045e   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.17355924    10688.5972

5/15/24 13:52 Remitano   BTC   2f13ee5fbc5a18ae629437bb1d522e8a485d5a4ac1a203c7f498976bed1c5599   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01910335    1230.58737

5/15/24 14:22 Remitano   BTC   d71ed0b62b9cce439ac2559473ce5e48478725493ab677d1cd096523cd608dd2   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.11982337    7718.70516

5/15/24 23:28 Remitano   BTC   4191a41057cdcf48000c3881ebdea62a86a28f4b44b9bfb7646148cedcced5a1   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00810979      537.1281

5/16/24 14:16 Remitano   BTC   4224db7b492ed62b38046962bfed603f2b9d43d8fd6261ce7ead6651ea0a09ba   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04915658    3253.28029

 5/17/24 7:28 Remitano   BTC   77225cc0d394724b870de3cf89a86cc42ede492267e752ff7828f659b7982279   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06168819    4074.42722

 5/17/24 8:03 Revolut    BTC   b47577d0da10ce4281e2fab8d8a5596042f16cf9bb516951248852967e77765b   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.06047627    3946.10867

5/17/24 14:56 Remitano   BTC   d8069d850f7641fbe266a3e5e2d1eedb1475e81ba676de5a5e0c57fb5c3296f8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03552493    2350.13789

5/18/24 11:35 Revolut    BTC   5623e9cb5a4b03e0be5e2dd8c717a7183125ccf28513570011761bef95f9df75   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.04457165     2988.5893

5/18/24 17:54 Remitano   BTC   30cd89d914d4e5a5d70fa0f736ad3977af765a0f90680c1de6f89f44459e877e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00747814     500.41013

5/18/24 20:10 Bybit      BTC   722c13952b81f8c22bbd59f990d81b18d7405453fa8db53318b1ff9261e575d5   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.02980146    1992.92585

 5/19/24 9:05 Remitano   BTC   820ae9edae2676c8603dc8e5276f28ed39b861dae24d9421880a2b9af28d7ff0   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3BjbZnAwmmxvQFnibcyGRd8SAwM6xTLYpA           0.00297278     198.96091

5/19/24 13:57 Remitano   BTC   d92abea636adfe80ad52aaa5b78349aa0dd569a88762a94d380760f9a13d7f2c   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03577459    2392.29942

5/19/24 23:24 Remitano   BTC   1fb9a75adaf536e3f286525f78633340854f27fb41b8150165f94a3ff44c635b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00729186     484.11781

5/20/24 16:48 Remitano   BTC   66ad237f48660b5edce92a7accc8d05e1d0026dc41f8b432f792d5a27ebeb124   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3CZ6NHrctR8ceWwyYyJQXP96PMAqEs5J4a           0.00220211     148.98065

5/21/24 10:31 Remitano   BTC   db4b1055b265c2769947ee4e275738823859a06aa75bacca1bc93e18648a17de   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KSpJdiRmej8XkqCYswa58pff127b7nQxc           0.00702608     500.38063

5/21/24 16:46 Remitano   BTC   97a2e0633673924a202a395a800eb7ab9912a5fcff53db5c749ef9bd22596bd6   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04296702    3004.21408

 5/22/24 5:47 Remitano   BTC   2d74b8972d78feec49918100fade80baf8f0187dda5506e025828851939a6a81   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03490036    2426.98569

 5/22/24 6:52 Remitano   BTC   c281ffef00bd9906953a2feef29a9f30a01f4d9825f6d73757ae1820d7752958   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0159691    1115.83687

5/22/24 14:38 Remitano   BTC   41b8200628ccb7599b1ae2c515fcf89ae96038749df5f7b23c629dc7efde5aea   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00481127     334.67088

5/22/24 14:46 Bybit      BTC   0455f5a6f39dbc24628bce15ffd43354fe9a61e5165f53f39c5dafd8512c256e   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.38675781   26902.78818

 5/23/24 8:39 Remitano   BTC   9edd533b4779a69dccfb801aae7c86d66e201774a8fda542775a97a9139fd8ca   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.05078329    3540.14377

 5/24/24 7:33 Remitano   BTC   d3a183dee10b7010ed0fa5e0bffd69d6284c40d92688a2e8940fdfa1ca17a014   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00924845     620.74792

 5/24/24 7:56 Bybit      BTC   45d56a769315c53771bc3be1ce2b63caad12fc68d8377e2a8bfa3a4c5ff2db32   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.01489025    1011.73814

5/24/24 10:23 Revolut    BTC   f2ebcadb3c047c08f58ca1c82c90ab7a6b028cef65b3e84db6a7688ec0bfeb72   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy    0.0148512    1001.16617

5/24/24 12:07 Revolut    BTC   81375fda4a21514a61084420bf35c6408ef616fb7c6a37a07c5b8f341db97762   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy    0.0148525    1009.17316

5/24/24 16:49 Remitano   BTC   c68c58816f9e184e5287b73fedabcc0e309f7091c402e40c366e0fb9e5a63708   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02493971     1701.5995
                                                                                                                                                                                                                       Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 49 of 68 PageID #: 91
5/25/24 14:07 Remitano   BTC   39bc0950c2d3e12ac4b1fde00c8aee05427a9464ac5c612fab2bf459636a4267   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05333073    3691.11582

5/25/24 16:47 Remitano   BTC   36a2f0b2468751672075e4d0c839a4a4536bbafa81c8f2c917ccd29099e6f4f8   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KSpJdiRmej8XkqCYswa58pff127b7nQxc           0.01450415     999.76874

5/25/24 19:06 Remitano   BTC   ed0a495a2594bd1beaead5d4760f0558d157542b124d1aa47066318c381f3d6d   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02583751    1787.95259

 5/26/24 9:10 Remitano   BTC   9eac5df7b8c5e3e4ac44861812ecfb267fb3fe51ceaf2cf7035a40c2654a855e   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04214998    2920.52786

5/26/24 10:27 Remitano   BTC   ad91b4ce4e0532a7458d33b2d2c766b9aa8450811b38ef15933007ab0f95a80d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01427574     986.59825

5/26/24 19:24 Bybit      BTC   cd865c1db83554ab17748484c4bfbf29177fb038417cfe0cd6f16ce2d26ceb84   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00123414      84.87745

5/26/24 20:31 Binance    BTC   f03c348ddc0280f1e02c6599e274af83e457b0cbe076c71c5f642706a5bbf5d1   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg           0.03708371    2553.26127

5/27/24 17:44 Binance    BTC   13fd1ca203012db8e63c2c4f69869114d31a78f060b6b6947d6adc93ba6f4b99   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg           0.00854858     600.16845

5/27/24 18:43 Binance    BTC   a3836f5790ef41277d9cb36bf31cd20f876adf8e668535507422c4a8a587b035   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1PvjGd7aCpvRzZtz4kL9YgdvnYPdpm16oj            0.0042851     300.59912

5/28/24 12:41 Remitano   BTC   7f1fe274e77db6777b5cb2b3ce4c6087bb8bc48d7a0e65bb9d30716e58ef222b   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.88002085   60269.72395

5/28/24 13:37 Remitano   BTC   32e038c3d65d2a93ace31734a3b6c3c3c96d752a3dac87b46ff6b8042155276b   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02802077     1944.2724

 5/30/24 1:06 Remitano   BTC   dfe3e4f13b7133b0d0bbd11b1c9dc3f7297a48aa3a3bae65b6295ab381ff2b53   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03212221    2166.14099

 5/30/24 8:13 Remitano   BTC   615adf1d949d2e3f5d8b8a9b5028359a627f96cc4c2133f9b7cd08f00e29c177   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.04764274    3218.65061

5/30/24 20:37 Remitano   BTC   56aa4c438477752443b5fcf5a044952366b5c52bbcd12db82f1aab9c5b724867   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06123312    4137.93892

5/31/24 10:33 Binance    BTC   2c4cf6c4075938d414ca071f8e2ef3ed80ae91e143f94c9cf5cdb87c86435105   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg           0.00293532     200.00892

5/31/24 17:57 Remitano   BTC   69a5bad1fdc404a75cc250b34cf157249352b81e7f5808fb0f34e9a84d3dc1cd   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00804688     541.85702

 6/1/24 12:41 Remitano   BTC   e854c640dbe2a05b6389f1353b415e53adc6013f56b1c7c03f763c81e117a4c7   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03571366    2410.03813

 6/1/24 13:54 Remitano   BTC   e98655dfc14f2e5138d8177a8e13acaec962fe4c49ebe59f395d4dda8789719f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02986314    2023.35883

 6/2/24 10:22 Remitano   BTC   d5067a9e08caab89456d1eea1f555d3b5ba8ee55c95349529d72500197b2be48   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02817465    1908.03238

 6/3/24 12:22 Remitano   BTC   5e489d6f85c2754e6416137c5e381964e7469d7300af1c78e9bce2141ab955b2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.83273082    57571.9611

 6/3/24 16:32 Revolut    BTC   f64a6a2c69ce2f181c7990c236e400fbe8ec111f45548f2988e4150cd7e5df00   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.01061303     737.86391

 6/3/24 21:04 Remitano   BTC   f024eaeeff204821610fc40c38cf016d583aebc9548ad264ea4f64bf213c7b3f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf             0.078754    5459.69902

 6/5/24 17:48 Remitano   BTC   c5a810593e79eff639d7aece2ecb77cb139f64571052bf66d2d4a54b24565b6a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01398005    1000.02821

 6/6/24 10:43 Remitano   BTC   5849cafc9190e6e202d4783becae2fc766f8be92d9ab1bcbaf0d84b051bc704f   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02113403    1498.86831

 6/6/24 15:43 Remitano   BTC   3c685e658d116174fb39c007b7f262f182a214abfd1c41110c9d10480af436df   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02517617    1799.59867

 6/6/24 21:29 Remitano   BTC   7615ba18a3f48eba8d3f0accc9b20fc81557b30d6bae19ef71944e772631a327   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01130688     804.11907

 6/7/24 17:24 Bybit      BTC   d0137332f06a11f80f3b734890797c210632f2ddddbc936c02863094ad5f4bc7   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.01418287    1007.16049

  6/8/24 8:35 Remitano   BTC   37b40e648009f81b9b25b34ea4edf5f3d897bd34b6c216e759c470dbe2262c8b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02565029    1781.75174

 6/8/24 21:48 Remitano   BTC   578bc28df3c5a5f418fa0cfbc8e755c6a0c8107f10d965590ec36c8235da0a88   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00504299     349.67659

 6/9/24 19:40 Remitano   BTC   03cfb8db1bbfc901a9a4578dfaff7c2738f8bb9a94ebce7ecd040266ad0a860a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0222052    1549.63163

 6/11/24 7:01 Remitano   BTC   be9604e926983d77581a5ff9c40a13553da35f1ae03c027dea3678dc9cadb3c7   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02338766    1587.81233

6/11/24 12:51 Remitano   BTC   a23f64bb181cfc20645e88fd7b67201c4f527802c6755e78e08647ace6a1cf58   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01493539     998.06998

6/11/24 14:27 Remitano   BTC   5c155daebac0893c0fd195b6563acbb54ca58a42b404112c0f441be298cd368d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01420257     953.60799

6/11/24 15:58 Bybit      BTC   a66c5c76fa05bb4788f768439ad088b522f3032e11a6941c79223d343d9cb5a3   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00905045     604.76826

 6/12/24 9:46 Bybit      BTC   a3911bd16997e1ed6364d505d776636aa673a9726eaf16fe1d93488982294ae4   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00237209     160.13299

 6/13/24 8:07 Remitano   BTC   734b4edae177212a49e7de7c26dcab076d37b1930cf73e292c98e2907a81dfb2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01267678     858.28595

 6/13/24 9:24 Remitano   BTC   447a2946b02a9b5b83bdf420e9e6f7f89d85ac58fb0e42bd91b9b1a4f932d3ee   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0074056     500.03641

6/13/24 11:18 Revolut    BTC   3c520c4973b3bf64fb4e238f972db956c8a8e058c03a3cd5fd4e6c1b37900728   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.01921811    1304.78648

6/14/24 15:12 Remitano   BTC   2aa8effffa05269ce23f899e9bc4e6cfbe53a9960f7cfe40b2b2c51846f67ec0   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01498452    1000.10493

 6/15/24 1:31 Remitano   BTC   4539e23258ca778c4726d2950716cf265b0953d1719ca9a2b91e76f471d9e7bf   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.04627828    3057.82439

6/16/24 16:03 Remitano   BTC   fd7b983001b069423cde42c63ab20e0cb6f0b331b9ae360f8e25b41b3ec5e5ac   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0392414    2614.53087
                                                                                                                                                                                                                       Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 50 of 68 PageID #: 92
6/17/24 14:44 Remitano   BTC   53c0eca28938acedbd6780eeef4a895e1c8eea5f041db858aebd14b78a4323dc   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05673432    3780.29795

 6/18/24 9:53 Revolut    BTC   5f31ff883e8f4d7530e444cecef822a6308b10591963d4e7eaf4b49ae913ee09   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.00860371     571.98953

6/18/24 16:20 Bybit      BTC   4f8833b84bcd7918bbe7371cd66ca0c0b0f1f5efdfd53041060c5a2de2a3e992   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.01550897    1002.13303

6/18/24 16:42 Remitano   BTC   25b2464ed5e181e55c264736f24d1e95b1c75b35c8542f2c876b2653444b090b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00800205     517.06326

6/20/24 10:47 Remitano   BTC   1df211391670111fc3480cf8f7e2e53d4a4a85749f7a601a7f732a6e7b25077a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03986819     2623.2372

6/22/24 15:37 Remitano   BTC   27cc0fb930fe3cecd20c411fece236b79d2d927445802d01c1149ebab59da91c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01333112     856.41914

6/22/24 21:29 Remitano   BTC   6907f39e8af771eedb3a45a8f514b354eba1aae70ea7986c005ad127f6956b0d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02487833     1595.1821

6/23/24 21:54 Remitano   BTC   7b0cf1308cc1b8800514807a629c8ebc35d66d2dc0438e52ba2a8d35a3320c34   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01191642     759.08394

6/24/24 17:09 Remitano   BTC   e3f5edd6866776a6b019f301982aa7d80992b1c3abc79a985711f13009f9b505   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.05215388    3167.25506

 6/26/24 7:15 Remitano   BTC   d7a7341cddb3d5d34b568b9aba0edb721082a48ab574c7169ec6bac07425bdf7   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0089816     555.03198

6/27/24 15:20 Remitano   BTC   3c6de918f3d7becf274fc3732877d1eb19ddbce1634864c03b0d28e5c40e2ce9   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.05215815      3225.303

 6/28/24 7:22 Remitano   BTC   a69dd4981d19651d9cbc8a5cffd8c2f52a05a203d09ab4c873d8560b7c423215   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00752187     462.82705

6/29/24 11:50 Remitano   BTC   41cfa3d9b6eef4bd05979d8b4666f8e9108f46a482ed52377df1d79aaf61f744   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03626441    2215.67567

 6/30/24 8:09 Remitano   BTC   8dd27d3abe014845cfa44f1dd58f63c2d090b284b53946725eb2bda3f6d9c057   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02768937    1686.42939

6/30/24 13:39 Remitano   BTC   41952015df09d2b82b6913068328192f27c6829e49ef6fbb322a999a641eef34   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04883611    2999.80982

 7/1/24 17:40 Remitano   BTC   16e5d025984268421e85cb1bc03524b9f3ac3778755501179bcbe5bed9d183bc   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01738061    1098.88681

 7/2/24 11:17 Remitano   BTC   a03756380bdb24b391155a553fc104aa5093506a4eeb47c26b4dc064db41d70a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01517033     949.76748

  7/3/24 6:55 Remitano   BTC   fa7d1cabe8409311a727699d3fd5f3f8d41feb2febb80a1a2b1abb6ed0cb9b7c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02230867    1362.01502

 7/3/24 21:14 Remitano   BTC   49e78bb8daed638a388f7c3e4923d3f91104de843cd11ecb1c18242504cb1add   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00926556      553.4294

 7/3/24 21:43 Remitano   BTC   b2e5cf1a3acd6fb113e2afc223125357fd6594f31dc594704e08ea6482f92168   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00502811     311.96647

 7/4/24 17:27 Remitano   BTC   c18dedcfc8a7df1aa44759fb9f2a151b8d355a5f552ce5caec9a9b15dd667120   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW             0.004345     252.49799

 7/5/24 11:38 Remitano   BTC   6846ba9c1c6ff58fffae1d310987a5f48227de3a2f60adf73999cd8716d13bd3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01298276     718.03296

 7/5/24 16:28 Remitano   BTC   6d8578f57de359885c31eff6ab94e5a29df33635dc659f469fd1696ae8b95e8e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01838333    1040.48912

  7/8/24 8:29 Bybit      BTC   583e661e4536c49b12a3772abe2a1f4977373e4561b3b3bd09a915fdd220e10f   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00318744     177.59762

  7/9/24 8:04 Remitano   BTC   732225d0d955cd9cc32a6812a0f99ecf6d58df9c779b5ec646c7097b573f48b3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02453453     1406.6068

 7/9/24 13:25 Remitano   BTC   324e84d6f6200d13cad3b9365b4699fac785fa0136812bb92ab3e94d41a4348e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0174554    1000.36985

 7/11/24 7:35 Remitano   BTC   f32a50166eca698805d7667bbe26e0d79e840c1cb89d91be29288184c6715cbf   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01718026     998.94519

7/11/24 10:23 Remitano   BTC   01b6266d4c2ab02d730292479ee35631d5c614eac5ab49194f756168f26050f3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.17344817   10093.70525

7/11/24 19:38 Remitano   BTC   29289a4ff88eef8511a2ba35ea18e5025201d641c10f9acf69488d634daad468   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0069576     402.41993

 7/13/24 6:35 Remitano   BTC   1cc097c0bb607c1277bfcaee6dfbcf665209e0f452c20d6469ce64243c4bd522   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02580708    1499.59445

 7/13/24 6:35 Remitano   BTC   8f6523785952be0f24668d13c9559d71ffd6e806aa7462cab6389e3e214ba683   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04473228    2599.29751

7/14/24 16:41 Remitano   BTC   d7ffb5ac2f922898265aa15de0e64796831c1b8dc4137ebd460a8ab88440c068   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00687046      413.1176

7/15/24 15:06 Remitano   BTC   718b5fb8107997fc7cfaf2e91d7c14741c19ca13043d885d213f6216de1609a4   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03551817    2236.47297

7/16/24 14:31 Remitano   BTC   01a1002b9fa01b256b3fbe1d69cdc31cf0f1487aafb613a908d6a3d50bed1d59   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03386916    2193.55478

7/18/24 13:35 Remitano   BTC   fcda8b36f980ad8d6c07b2ea48b71eb7bc25856eb4d07d211b162e201594ac16   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01777382    1153.68159

 7/20/24 9:55 Remitano   BTC   c8962e07ed03a486f24484d8813043ec55475d6e344938553421582933d281e6   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03228131    2148.42448

 7/22/24 9:35 Remitano   BTC   f47710251a41be6dd01ff3fcfd1093853b2cd1b76f22657507c212070efc90e2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03072728     2066.0682

7/23/24 14:34 Remitano   BTC   f8198d7f13dba1eaa333bdbcb6c4803fccf8bbbd4f4fe940047c87006bb6baee   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00747821     495.93754

7/23/24 20:16 Remitano   BTC   c963892e22c75ccd7b0d0a48ff3adb1d9e05d51a381b732edb96b8b1bc15ed81   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02111697    1392.02834

7/23/24 21:18 Remitano   BTC   7087a3ed5f22d312c866e5efa275ece2e0759026545a9f780767f8aac58d3974   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   39TPPnjRGB8ANVbs1K7RFoBBDNtvXWtECj             0.007553     496.91799

7/25/24 11:18 Remitano   BTC   4ce5ce38c879a03a202e824152ea5740b7578f9627c6e957d99a40a3c8cd3709   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0077841     499.48756
                                                                                                                                                                                                                       Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 51 of 68 PageID #: 93
Total Transfers: 200   Unique Receiving Addresses: bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy

                                                    38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf

                                                    38Ep5mFzh6oNbuFXSL1Hvk3g1TwXUMX8xv

                                                    3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A

                                                    3A34Ggh1EUNXe4K8ayTLNLdKYAUDTnEU63

                                                    13mLDAfVfyzD8Vf6x9YZ5pALc3g8TXqPix

                                                    1MUxDUmHAVskKATJDCWgk8SJ9ZBHreZAbh

                                                    3MoVdQzjhYJrz9umg4v1oBRRz5pe9kZVcu

                                                    3A3NqjhLiexUzcfgGuVo19uzux8rnbqSVE

                                                    3CaPngqFGiu8kSLEcp9uM5JvK97RdAGHBU

                                                    3KE6diBJr2yCcd9HEUxH5KNd86s2tzPW2N

                                                    3B9GDHG6WgrWeavz247zAvbd5WrC8rYF7y

                                                    3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB

                                                    3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy

                                                    3DGPG9Lh6iLSkxYf9UZxzxjcUKo36xUva9

                                                    3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW

                                                    33heGnSTbA6U7WrfMBYoWYgCRBek2MrKTA

                                                    3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz

                                                    14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb

                                                    1DMhMwn4apg49oVjRpbaZqJDDLJaN6iqox

                                                    31jJbyCxErbbfkuGP1dtz2Pz9jt9SWNv83

                                                    35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW

                                                    1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ

                                                    3BjbZnAwmmxvQFnibcyGRd8SAwM6xTLYpA

                                                    3CZ6NHrctR8ceWwyYyJQXP96PMAqEs5J4a

                                                    3KSpJdiRmej8XkqCYswa58pff127b7nQxc

                                                    13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg

                                                    1PvjGd7aCpvRzZtz4kL9YgdvnYPdpm16oj

                                                    39TPPnjRGB8ANVbs1K7RFoBBDNtvXWtECj
                                                                                                Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 52 of 68 PageID #: 94
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 53 of 68 PageID #: 95




    Exhibit 1-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 54 of 68 PageID #: 96




  Exhibit 1-I


        Orlando Bell
        Generated by Loni M Harris on Thursday, June 6, 2024 at 12:20 PM UTC-07:00
        Contains data you requested from June 6, 2023 at 6:22 AM to June 5, 2024 at 12:11 PM


  Loni M Harris



          0:02 / 2:13


  May 10, 2024 5:00:43pm

  Loni M Harris

  Orlando missed your call.
  May 10, 2024 3:59:59pm

  Loni M Harris

  On another note how’s your project coming along?
  May 09, 2024 6:08:33pm

  Loni M Harris

  Thanks for getting back to me. I really do appreciate it.

  There was deﬁnitely a learning curve doing our ﬁrst trade I think we’re starting to understand the process

  I know we were Just talking about how people are so dishonest. Its awful!! It’s happen to our business too so i
  understand
  May 09, 2024 6:08:09pm

  Orlando Bell

  I usually pay him 15% upfront from my pocket, he said they were scammed multiple times, people withdrew an
  not pay commission. They even block him. I don’t know why people will be so greedy to do that to him and his
  after making money for them.
  David is a really awesome person, he works with a bunch of traders which can make it difﬁcult for him to appro
  your withdrawal without his team. Once you understand the whole process, you won't have to worry about a th
  May 09, 2024 5:58:13pm

  Loni M Harris

  I am sorry I keep bugging you. We are on a time crunch.
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 55 of 68 PageID #: 97




   Exhibit 1-
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 56 of 68 PageID #: 98
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 57 of 68 PageID #: 99
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 58 of 68 PageID #: 100
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 59 of 68 PageID #: 101




        Exhibit 1-
       Home / upwintrade.com Technology Pro le / upwintrade.com Detailed Technology Pro le



       UPWINTRADE.COM
         Technology Pro le              Detailed Technology Pro le       Meta Pro le           Performance          Relationship       Redirect

         Recommendations                Company



         You have used 1 of 10 lookups you can do on a free account currently.

                                                                                View Plans
                                                               Advanced also provides unlimited detailed lookups.




         UPWINTRADE.COM

              Analytics and Tracking                                                         First Detected                 Last Detected

              Akamai mPulse                                                                  May 2024                       Jul 2024
              Application Performance


              Widgets

              Financial Conduct Authority                                                    May 2024                       Jul 2024

              JivoSite                                                                       May 2024                       Jul 2024
              Live Chat

              WPML Multilingual                                                              May 2024                       Jul 2024
              WordPress Plugins

              Wordpress Plugins                                                              May 2024                       Jun 2024

              Frameworks

              CodeIgniter                                                                    May 2024                       Jun 2024

              Foundation                                                                     May 2024                       Jun 2024

              Content Delivery Network

              UNPKG                                                                          May 2024                       Jul 2024

              Akamai                                                                         May 2024                       Jul 2024

              Mobile

              Apple Mobile Web Clips Icon                                                    May 2024                       Jul 2024

              Viewport Meta                                                                  May 2024                       Jul 2024

              IPhone / Mobile Compatible                                                     May 2024                       Jul 2024

              Payment

              MasterCard                                                                     May 2024                       Jun 2024
              Payment Acceptance

              Visa                                                                           May 2024                       Jun 2024
              Payment Acceptance


              Content Management System

              WordPress                                                                      May 2024                       Jul 2024
              Open Source · Blog


              JavaScript Libraries and Functions

              AOS                                                                            May 2024                       Jul 2024

              jQuery                                                                         May 2024                       Jul 2024
              JavaScript Library

                jQuery UI                                                                    May 2024                       Jul 2024
                jQuery Plugin · UI

                jQuery Marquee                                                               May 2024                       Jul 2024
                jQuery Plugin

              DataTables                                                                     May 2024                       Jun 2024
              jQuery Plugin


              SSL Certi cates

              SSL by Default                                                                 May 2024                       Jun 2024

              LetsEncrypt                                                                    May 2024                       Jun 2024
              Root Authority


              Email Hosting Providers
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 60 of 68 PageID #: 102




           SPF                              May 2024                   Jun 2024

           Web Servers

           Apache                           May 2024                   Jun 2024




        UPWINTRADE.COM/*

           Payment         First Detected              Last Detected

           Euro            Jun 2024                    Jul 2024
           Currency
          Exhibit 1-L

                     < https://upwintrade.com/index.php>
                  COMPANY     PRODUCTS < HTTPS://UPWINTRADE.COM/INDEX.PHP/HOME/PRODUCTS>                PARTNERSHIPS     SERVICES < HTTPS://UPWINTRADE.COM/INDEX.PHP/HOME/CLIENT_SERVICES>




                                           TRADE SMARTER WITH WIDER CHOICE OF SINGLE STOCKS
                                                       Our true strength lies in our diversity and multi-faceted approach to ﬁnding
                                                               most optimal solutions for our clients and our partners’ needs.
                                                                                                                                                                                           UPWI
                                                                                                                                                                                           THE B
                                                               FACEBOOK                   AMAZON                    APPLE                                                                  Easy reg
                                                                                                                                                                                           Signal Pr
                                                                                                                                                                                           settings,
                                                                                                                                                                                           more.

                                                                 287.27                    129.30                   188.40
                                                                                           0.29000
                                                                 0.48000                                            0.70000
                                                                                            SPREAD
                                                                  SPREAD                                             SPREAD



                                                            TRADE NOW <                                        TRADE NOW <
                                                                                      TRADE NOW <
                                                      OM/INDEX.PHP/AUTH/SIGNUP>
                                                            HTTPS://UPWINTRADE.COM/INDEX.PHP/AUTH/SIGNUP>      HTTPS://UPWINTRADE.CO
                                                                                      HTTPS://UPWINTRADE.COM/INDEX.PHP/AUTH/SIGNUP>                                                         OPEN
                                                                                                                                                                                            <
                                                                                                                                                                                            HTTPS

                                                 OPEN LIVE ACCOUNT          LOGIN ACCOUNT
                                                 <                          <
                                                 HTTPS://UPWINTRADE.COM/INDEX.PHP/AUTH/SIGNUP>
                                                                            HTTPS://UPWINTRADE.COM/INDEX.PHP/AUTH>




      USDCNH                   USDCAD              GBPSGD                     GBPNZD                 EURZAR                   EURUSD             EURTRY                EURSEK               CHFSGD
25280 / 7.25309        1.32176 / 1.32179   1.71576 / 1.71607          2.08362 / 2.08400     20.36249 / 20.37142     1.09511 / 1.09514   28.54186 / 28.55610   11.76912 / 11.77042   1.50950 / 1.50984
                                                                                                                                                                                                        Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 61 of 68 PageID #: 103
              Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 62 of 68 PageID #: 104




                    
               




                                                       




                                                                     

                                                                          
                                                                 
Exhibit 1-M




                                                  
                                      




                                                                                        
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 63 of 68 PageID #: 105




                                         
                               
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 64 of 68 PageID #: 106




                                            
                                  


Domain Name: davidshamlian.com
Registry Domain ID: 2844545195_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.wildwestdomains.com
Registrar URL: https://www.wildwestdomains.com
Updated Date: 2024-01-09T08:01:00Z
Creation Date: 2024-01-09T08:01:00Z
Registrar Registration Expiration Date: 2025-01-09T08:01:00Z
Registrar: Wild West Domains, LLC
Registrar IANA ID: 440
Registrar Abuse Contact Email: abuse@wildwestdomains.com
Registrar Abuse Contact Phone: +1.4806242505
Reseller: OrangeHost
Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Domain Status: clientUpdateProhibited https://icann.org/epp#clientUpdateProhibited
Domain Status: clientRenewProhibited https://icann.org/epp#clientRenewProhibited
Domain Status: clientDeleteProhibited https://icann.org/epp#clientDeleteProhibited
Registrant Organization: David Shamlian
Registrant State/Province: Arizona
Registrant Country: US
Registrant Email: Select Contact Domain Holder link at https://www.secureserver.net/whois?plid=1387&domain=davidshaml
Admin Email: Select Contact Domain Holder link at https://www.secureserver.net/whois?plid=1387&domain=davidshamlian.c
Tech Email: Select Contact Domain Holder link at https://www.secureserver.net/whois?plid=1387&domain=davidshamlian.com
Name Server: NS1.ORANGEHOST.COM
Name Server: NS2.ORANGEHOST.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2024-07-26T13:57:22Z <<<
For more information on Whois status codes, please visit https://icann.org/epp

TERMS OF USE: The data contained in this registrar's Whois database, while believed by the
registrar to be reliable, is provided "as is" with no guarantee or warranties regarding its
accuracy. This information is provided for the sole purpose of assisting you in obtaining
information about domain name registration records. Any use of this data for any other purpose
is expressly forbidden without the prior written permission of this registrar. By submitting
                                                                                                                         Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 65 of 68 PageID #: 107




an inquiry, you agree to these terms and limitations of warranty. In particular, you agree not
to use this data to allow, enable, or otherwise support the dissemination or collection of this
data, in part or in its entirety, for any purpose, such as transmission by e-mail, telephone,
postal mail, facsimile or other means of mass unsolicited, commercial advertising or solicitations
of any kind, including spam. You further agree not to use this data to enable high volume, automated
or robotic electronic processes designed to collect or compile this data for any purpose, including
mining this data for your own personal or commercial purposes. Failure to comply with these terms
may result in termination of access to the Whois database. These terms may be subject to modification
at any time without notice.
                                                                                                        Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 66 of 68 PageID #: 108
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 67 of 68 PageID #: 109



       Exhibit 1-
       Home / davidshamlian.com Technology Pro le / davidshamlian.com Detailed Technology Pro le



       DAVIDSHAMLIAN.COM
         Technology Pro le           Detailed Technology Pro le       Meta Pro le           Performance          Relationship       Redirect

         Recommendations             Company



         You have used 2 of 10 lookups you can do on a free account currently.

                                                                             View Plans
                                                            Advanced also provides unlimited detailed lookups.




         DAVIDSHAMLIAN.COM

              Widgets                                                                     First Detected                 Last Detected

              Redux Framework                                                             May 2024                       Jun 2024
              WordPress Plugins

              Contact Form 7                                                              May 2024                       Jun 2024
              Feedback Forms and Surveys

              Google Font API                                                             May 2024                       Jun 2024
              Fonts

              Wordpress Plugins                                                           May 2024                       May 2024

              Elementor                                                                   May 2024                       May 2024
              WordPress Plugins


              Mobile

              Apple Mobile Web Clips Icon                                                 May 2024                       Jun 2024

              Viewport Meta                                                               May 2024                       Jun 2024

              IPhone / Mobile Compatible                                                  May 2024                       Jun 2024

              Content Delivery Network

              GStatic Google Static Content                                               May 2024                       Jun 2024

              Content Management System

              WordPress                                                                   May 2024                       Jun 2024
              Open Source · Blog

                WordPress 6.5                                                             May 2024                       Jun 2024

              JavaScript Libraries and Functions

              jQuery                                                                      May 2024                       Jun 2024
              JavaScript Library

                jQuery UI                                                                 May 2024                       Jun 2024
                jQuery Plugin · UI

                jQuery 3.7.1                                                              May 2024                       Jun 2024

                jQuery Waypoints                                                          May 2024                       Jun 2024

              Slick JS                                                                    May 2024                       Jun 2024
              Animation

              Magni c Popup                                                               May 2024                       Jun 2024

              Lightbox                                                                    May 2024                       Jun 2024

              Veri ed Link

              Facebook                                                                    May 2024                       Jun 2024

              SSL Certi cates

              SSL by Default                                                              May 2024                       May 2024

              LetsEncrypt                                                                 May 2024                       May 2024
              Root Authority


              Email Hosting Providers

              SPF                                                                         May 2024                       May 2024

              Operating Systems and Servers

              QUIC                                                                        May 2024                       May 2024

              Syndication Techniques
Case 1:24-cv-00313-MJT Document 2-1 Filed 08/02/24 Page 68 of 68 PageID #: 110




          Really Simple Discovery       May 2024      Jun 2024

          RSS                           May 2024      Jun 2024
